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            EXHIBIT H
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      IAN R. KING·                                                 April 23, 2014
      VANGELAKOS vs. WELLS FARGO                                                1

·1· · · · · · · · · · · · ·King

·2·   ·UNITED STATES DISTRICT COURT
· ·   ·SOUTHERN DISTRICT OF NEW YORK
·3·   ·------------------------------x
· ·   ·GEORGE VANGELAKOS, IAN KING,
·4·   ·JOSEPH KORONAKIS, AND BARRY
· ·   ·WAYNE, Individually and on
·5·   ·Behalf of All Others Similarly
· ·   ·Situated,
·6
· ·   · · · · · · · · Plaintiffs,
·7
· ·   · · · ·against· · · · · Case No. 13 CV 6574
·8
· ·   ·WELLS FARGO BANK, N.A.,
·9·   ·WELLS FARGO & COMPANY,
· ·   ·WFC HOLDINGS CORPORATION,
10·   ·WACHOVIA CORPORATION, AND
· ·   ·WACHOVIA BANK, N.A.
11
· ·   · · · · · · · · Defendants.
12·   ·------------------------------x

13

14· · · · · · · · IAN RICHARD KING

15· · · · · · · ·New York, New York

16· · · · · · ·Tuesday, April 23, 2014

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24· ·Reported by:· Steven Neil Cohen, RPR

25· ·Job No. 111194


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·1· · · · · · · · · · · · ·King
·2· · · · · · · · ·April 23, 2014
·3· · · · · · · · · ·10:24 a.m.
·4
·5· · · · · · ·Videotaped Deposition of IAN
·6· ·RICHARD KING, taken by Defendants, pursuant
·7· ·to notice, at the offices of Seyfarth Shaw
·8· ·LLP, 620 Eighth Avenue, New York, New York,
·9· ·before Steven Neil Cohen, a Registered
10· ·Professional Reporter and Notary Public of
11· ·the State of New York.
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·1· · · · · · · · · · · · ·King

·2· · · · · · · · · ·APPEARANCES

·3

·4· ·SEYFARTH SHAW LLP

·5· ·700 Milam Street

·6· ·Suite 1400

·7· ·Houston, Texas 77002-2797

·8· · · · · · ·Attorneys for Defendants

·9· ·BY:· · TIMOTHY M. WATSON, ESQ.

10· · · · · KENDRA K. PAUL, ESQ.

11

12· ·WILLS LAW FIRM

13· ·1776 Yorktown

14· ·Suite 600

15· ·Houston, Texas· 77056

16· · · · · · Attorneys for Plaintiffs

17· ·BY:· · RHONDA H. WILLS, ESQ.

18

19· ·PADILLA & RODRIGUEZ, LLP

20· ·1776 Yorktown

21· ·Suite 110

22· ·Houston, Texas 77056

23· · · · · · ·Attorneys for Plaintiffs

24· ·By:· · JOHN M. PADILLA, ESQ.

25· ·ALSO PRESENT:
· · · · · · ·Andrew Ritchie, Videographer


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·1· · · · · · · · · · · · ·King
·2
·3· · · · · · ·IT IS HEREBY STIPULATED AND
·4· ·AGREED, by and between counsel for the
·5· ·respective parties hereto, that the sealing
·6· ·and filing of the within deposition be
·7· ·waived; that such deposition may be signed
·8· ·and sworn to before any officer authorized
·9· ·to administer an oath; that all objections,
10· ·except as to form are reserved to the time
11· ·of trial.
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·1· · · · · · · · · · · · · ·King
·2· · · · · · · ·THE VIDEOGRAPHER:· The time now
·3· · · · ·is 10:24 a.m. on April 23, 2014.
·4· · · · · · · ·This begins tape number 1 to the
·5· · · · ·videotaped deposition of Ian King.
·6· · ·IAN RICHARD KING, called as a witness by
·7· · · · the Defendant, having been duly sworn,
·8· · · · testified as follows:
·9· · ·EXAMINATION
10· ·BY MR. WATSON:
11· · · · ·Q.· · Mr. King, my name is Tim Watson.
12· · ·I am a lawyer and I represent Wells Fargo,
13· · ·both as Wells Fargo and the successor to
14· · ·Wachovia.
15· · · · · · · ·Do you understand that?
16· · · · ·A.· · Yes.
17· · · · ·Q.· · I understand you have sued Wells
18· · ·Fargo today in a lawsuit alleging violations
19· · ·of federal statutes and state statutes.
20· · · · · · · ·Do you understand that?
21· · · · ·A.· · Yes.
22· · · · ·Q.· · Have you given a deposition
23· · ·before?
24· · · · ·A.· · I have not.
25· · · · ·Q.· · All right.


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·1· · · · · · · · · · · · · ·King
·2· · · · ·it.
·3· ·BY MR. WATSON:
·4· · · · ·Q.· · Are you going to refuse to discuss
·5· · ·it?
·6· · · · ·A.· · No.
·7· · · · ·Q.· · Okay.· When did you stop using
·8· · ·this e-mail address listed in Exhibit 1?
·9· · · · · · · ·MS. WILLS:· Same objections.
10· · · · · · · ·Again, I leave it to you if you
11· · · · ·want to discuss your personal e-mail
12· · · · ·address.
13· · · · · · · ·THE WITNESS:· I guess I refuse
14· · · · ·to answer.· It has no relevance.
15· ·BY MR. WATSON:
16· · · · ·Q.· · Okay.· So you are going to refuse
17· · ·to answer any questions about this e-mail
18· · ·address that you have listed in Exhibit 1 or
19· · ·any other e-mail address you have had other
20· · ·than the ones you had at Wachovia and Wells
21· · ·Fargo?
22· · · · ·A.· · Correct.
23· · · · ·Q.· · Were you given discovery
24· · ·responses -- discovery questions, written
25· · ·documents to review and provide answers to?


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·1· · · · · · · · · · · · · ·King
·2· · · · · · · ·MS. WILLS:· I am going to
·3· · · · ·instruct the client -- the witness not
·4· · · · ·to answer on the basis of the
·5· · · · ·attorney-client privilege and the work
·6· · · · ·product privilege.
·7· · · · · · · ·You are instructed not to
·8· · · · ·answer.
·9· · · · · · · ·MR. WATSON:· Exhibit 2.
10· · · · · · · ·(Document Requests and Responses
11· · ·was marked King Exhibit 2 for
12· · ·identification)
13· · · · · · · ·MS. WILLS:· Is that all one
14· · · · ·document?
15· · · · · · · ·MR. WATSON:· It is two sets of
16· · · · ·document requests.
17· · · · · · · ·MS. WILLS:· It is thick.· I will
18· · · · ·leave it clipped.
19· · · · · · · ·MR. WATSON:· Exhibit 3.
20· · · · · · · ·(Document Requests and Responses
21· · ·was marked King Exhibit 3 for
22· · ·identification)
23· ·BY MR. WATSON:
24· · · · ·Q.· · Are you looking at Exhibit 3?
25· · · · ·A.· · Yes.· This is 3.


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·1· · · · · · · · · · · · · ·King
·2· · · · ·Q.· · Have you ever seen these before?
·3· · · · · · · ·MS. WILLS:· I think the witness
·4· · · · ·is reviewing the document.
·5· · · · · · · ·THE WITNESS:· I have not, no.
·6· ·BY MR. WATSON:
·7· · · · ·Q.· · Go to the last three pages -- four
·8· · ·pages of Exhibit 3.
·9· · · · · · · ·Have you ever seen this before?
10· · · · · · · ·MS. WILLS:· Objection.· Vague
11· · · · ·and ambiguous.
12· · · · · · · ·THE WITNESS:· I have not.
13· ·BY MR. WATSON:
14· · · · ·Q.· · Then going to Exhibit 2, have you
15· · ·ever seen Exhibit 2 before?
16· · · · ·A.· · No, I have not.
17· · · · ·Q.· · The testimony you gave about
18· · ·working in Mount Olive and Nyack and Spring
19· · ·Valley, is there anything that would tell us
20· · ·precisely when you worked there?
21· · · · · · · ·MS. WILLS:· Objection.· Vague
22· · · · ·and ambiguous.
23· ·BY MR. WATSON:
24· · · · ·Q.· · Do you know of any way to figure
25· · ·out exactly when you worked at those


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·1· · · · · · · · · · · · ·King
·2· ·Investments.
·3· · · ·Q.· · So he was not a bank employee?
·4· · · ·A.· · No.
·5· · · ·Q.· · This is just a buddy of yours?
·6· · · ·A.· · Yes.· That I was actually pursuing
·7· ·to try and get their commercial account.
·8· · · ·Q.· · Did you ever get it?
·9· · · ·A.· · No.· They closed.
10· · · ·Q.· · They closed?
11· · · ·A.· · Yes.
12· · · ·Q.· · The first e-mail apparently your
13· ·sent to him says, "Hey buddy, what is up
14· ·over at York hill.· I decided to go back to
15· ·school and get my CPA.· I start in January.
16· ·Scary."
17· · · · · · ·Did I read that correctly?
18· · · ·A.· · Yes.
19· · · ·Q.· · Did you go back to school?
20· · · ·A.· · I actually tried to and it didn't
21· ·work out.
22· · · ·Q.· · What happened?
23· · · ·A.· · I wasn't able to juggle work and
24· ·school.
25· · · ·Q.· · So you did start school?


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·1· · · · · · · · · · · · ·King
·2· · · ·A.· · I think I went to three classes.
·3· · · ·Q.· · What school did you go to?
·4· · · ·A.· · Ramapo.
·5· · · ·Q.· · Say it again?
·6· · · ·A.· · Ramapo.
·7· · · ·Q.· · How do you spell that?
·8· · · ·A.· · R-A-M-A-P-O.
·9· · · ·Q.· · What kind of a school, is that a
10· ·college?
11· · · ·A.· · Yes.· It is a college.
12· · · ·Q.· · It is just called Ramapo College?
13· · · ·A.· · Ramapo College, yes.
14· · · ·Q.· · Where is it?
15· · · ·A.· · It is in Mahwah, New Jersey.
16· · · ·Q.· · Is it a four-year school?
17· · · ·A.· · Yes.
18· · · ·Q.· · Did you pay tuition?
19· · · ·A.· · Yes.
20· · · ·Q.· · Did you get the tuition refunded?
21· · · ·A.· · No.· I didn't finish the semester
22· ·so they don't refund any of the tuition if
23· ·you don't go to school.
24· · · ·Q.· · They don't -- you mean if you had
25· ·finished the semester they wouldn't have


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·1· · · · · · · · · · · · ·King
·2· ·refunded the tuition?
·3· · · ·A.· · That I am not -- if I finished the
·4· ·semester?
·5· · · ·Q.· · Yes.
·6· · · ·A.· · No.· I don't think so.· I think
·7· ·you had to graduate and then they would
·8· ·refund the tuition, I think.
·9· · · ·Q.· · Oh, oh, I see.· You are saying the
10· ·bank?
11· · · ·A.· · Yes, the bank.
12· · · ·Q.· · Oh, okay.· Okay.· Did the school
13· ·refund the tuition when you dropped out?
14· · · ·A.· · Oh, no.· I think they refunded
15· ·like a third of it because I missed the
16· ·cutoff date.
17· · · ·Q.· · Do you know when the cutoff date
18· ·was?
19· · · ·A.· · I don't remember.· It was just
20· ·like a couple days after school started.
21· · · ·Q.· · How many hours were you enrolled?
22· · · ·A.· · I think it was one class.
23· · · ·Q.· · Just one class?
24· · · ·A.· · Yes.
25· · · ·Q.· · When you filled out the


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·1· · · · · · · · · · · · · ·King
·2· · · · ·A.· · Right.
·3· · · · ·Q.· · Was there any differences as far
·4· · ·as your working activities between those two
·5· · ·stints?
·6· · · · ·A.· · No.
·7· · · · ·Q.· · So how many hours of -- on average
·8· · ·what was your -- how many hours a day were
·9· · ·you working?
10· · · · ·A.· · It was 70 to 75 hours a week.
11· · · · ·Q.· · So that is 30 to 35 hours of
12· · ·overtime?
13· · · · ·A.· · That's correct.
14· · · · ·Q.· · A week.· Was that the same at the
15· · ·Nyack branch?
16· · · · ·A.· · That was the same across the
17· · ·board.
18· · · · ·Q.· · Is that what all the FSs were
19· · ·doing?
20· · · · ·A.· · To my knowledge, yes.
21· · · · · · · ·MR. WATSON:· Exhibit 8.
22· · · · · · · ·(E-mail of April 2007 was marked
23· · ·King Exhibit 8 for identification)
24· ·BY MR. WATSON:
25· · · · ·Q.· · Okay.· You are looking at what has


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·1· · · · · · · · · · · · ·King
·2· · · ·A.· · Yes, I know exactly what this is
·3· ·actually.
·4· · · ·Q.· · What is this?
·5· · · ·A.· · This was a case study that I was
·6· ·looking into about the Lincoln Company.
·7· · · ·Q.· · Why were you looking into this
·8· ·case study?
·9· · · ·A.· · I don't know.· I might have
10· ·brought it to like Unger University or
11· ·something along those lines to use it as an
12· ·example.
13· · · · · · ·Unger University was like a small
14· ·business university within Wachovia, a guy
15· ·named Steven Unger who was an employee
16· ·there.· He would hold these small business
17· ·workshops so I would imagine that is what it
18· ·was.
19· · · ·Q.· · Below that it says, "Forwarded by
20· ·Ian King."· It has got Ian King Wachovia
21· ·from I King at Ramapo?
22· · · ·A.· · Yes, at Ramapo.· I think that is
23· ·where I picked up the case study was from
24· ·Ramapo and I was sending it I guess to
25· ·myself or whatever to bring up in Unger


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·1· · · · · · · · · · · · ·King
·2· ·University, maybe.· I don't see any other
·3· ·reason why.
·4· · · ·Q.· · Were you still in Ramapo at this
·5· ·time?
·6· · · ·A.· · No.· I probably just had their
·7· ·e-mail address still.· It lingers with you
·8· ·for a couple of years and then falls off.
·9· · · ·Q.· · Why don't you turn a couple more
10· ·pages to 76456?
11· · · ·A.· · Yes.· So it was Unger University
12· ·so I guess I was giving a presentation in
13· ·Unger University on this particular case
14· ·study or whatever.
15· · · ·Q.· · Where are you looking at?
16· · · ·A.· · You said 76456, right?
17· · · ·Q.· · Right.
18· · · ·A.· · It says, "Here is the Power Point.
19· ·It is not in the final format.· So it may
20· ·look a little funny to you.· I will finalize
21· ·it before presentation on Tuesday so it will
22· ·work on Windows computers."
23· · · ·Q.· · This is somebody with an Ramapo
24· ·e-mail address sending it to you and several
25· ·other people with an Ramapo e-mail address?


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·1· · · · · · · · · · · · ·King
·2· · · ·A.· · I am not sure to be honest with
·3· ·you, I don't remember.
·4· · · ·Q.· · You sure you weren't still in
·5· ·school at this time?
·6· · · ·A.· · 11/10/2009.· I may have been.· It
·7· ·might have been a case study that we started
·8· ·in a -- in the class that I took.
·9· · · ·Q.· · Earlier I thought you had said
10· ·that you just attended a couple classes and
11· ·then stopped?
12· · · ·A.· · Yes, I did.· This was a case study
13· ·that we picked up, you know, that it was
14· ·like one of our first assignments.· It looks
15· ·like it was a group assignment and since it
16· ·was Sunday we were probably working on it at
17· ·the library or something.
18· · · ·Q.· · Isn't this a full year after you
19· ·started school?
20· · · ·A.· · No.· I never told you when I
21· ·started school.
22· · · ·Q.· · Well, the e-mail we saw much
23· ·earlier said that you were starting in
24· ·January of 2008.
25· · · · · · ·MS. WILLS:· Objection.


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·1· · · · · · · · · · · · · ·King
·2· ·BY MR. WATSON:
·3· · · · ·Q.· · Looking now at Exhibit 22 which is
·4· · ·an e-mail from you to Mr. Carifa again.
·5· · · · · · · ·Can you read that e-mail?
·6· · · · ·A.· · It says, "Go Yanks.· Are you and
·7· · ·Jackie going along with Cal and the party
·8· · ·bus down to the hunt on the 17th.· If not
·9· · ·you guys should come down and hang with us
10· · ·at my brother Bill's spot.· Lauren, Keith,
11· · ·Cary and Dan are coming.· Chris and Erin are
12· · ·still undecided.· Aaron hasn't been able to
13· · ·get out of work that weekend yet.· You guys
14· · ·can stay over at our house to Saturday
15· · ·night, good excuse to drink beers all day."
16· · · · ·Q.· · Your reply is?
17· · · · ·A.· · "One of these years will be able
18· · ·to make it.· I have to work Saturday.· I
19· · ·have midterms starting that week.· Also
20· · ·sucks.· What time does it start?"
21· · · · · · · ·This is when, 2009?
22· · · · ·Q.· · Do you know what mid terms you are
23· · ·talking about there?
24· · · · ·A.· · Mostly because I -- if I started
25· · ·in January and this is October, January,


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·1· · · · · · · · · · · · · ·King
·2· · ·that is why I am confused as to when I
·3· · ·started.
·4· · · · ·Q.· · What are midterms?
·5· · · · ·A.· · One of these years will be able to
·6· · ·make it.· I have to work Saturday -- 2009 --
·7· · ·I think I took an online class too.
·8· · · · ·Q.· · Who did you take an online class
·9· · ·with?
10· · · · ·A.· · With Ramapo.· That must be what
11· · ·the mid terms was.
12· · · · ·Q.· · How many classes did you take at
13· · ·Ramapo?
14· · · · · · · ·MS. WILLS:· Objection.· Vague
15· · · · ·and ambiguous.
16· · · · · · · ·THE WITNESS:· I dropped one
17· · · · ·class and then had an online class
18· · · · ·that I took but I don't think I
19· · · · ·finished it out.
20· ·BY MR. WATSON:
21· · · · ·Q.· · What is a midterm you are talking
22· · ·about here?
23· · · · ·A.· · It probably would have been for
24· · ·that online class.
25· · · · ·Q.· · It says "midterms."· Is there more


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·1· · · · · · · · · · · · ·King
·2· ·than one midterm?
·3· · · ·A.· · That just might have been, it
·4· ·would sound weird if I said I have midterm
·5· ·starting.
·6· · · ·Q.· · So you think you just had one
·7· ·midterm?
·8· · · ·A.· · Yes.· Again I have to go back and
·9· ·look but I took an online class so it must
10· ·have been what it was but I, you know, like
11· ·I said I didn't finish it out.
12· · · ·Q.· · What was the class that you
13· ·started and dropped out of?
14· · · ·A.· · That was an accounting class.
15· · · ·Q.· · Do you know what the name of the
16· ·class was?
17· · · ·A.· · I think it was like accounting
18· ·101.
19· · · ·Q.· · What was the name of the class
20· ·that you took online?
21· · · ·A.· · Another business class.· Might
22· ·have been international business maybe.
23· · · ·Q.· · Did you take any other classes at,
24· ·what is the name of the school?
25· · · ·A.· · Ramapo.


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions.comYVer1f
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   IAN R. KING·                                                 April 23, 2014
   VANGELAKOS vs. WELLS FARGO                                              168

·1· · · · · · · · · · · · ·King
·2· · · ·Q.· · What is it?
·3· · · ·A.· · Ramapo.
·4· · · ·Q.· · Did you take any other classes at
·5· ·Ramapo?
·6· · · ·A.· · No.
·7· · · ·Q.· · So this midterms that you have in
·8· ·Exhibit 22 you think refers to the business,
·9· ·international business class you were
10· ·taking?
11· · · ·A.· · Yes.
12· · · ·Q.· · What were the hours for the online
13· ·class, how did that work?
14· · · ·A.· · It was just once a week for a
15· ·couple hours.
16· · · ·Q.· · Do you know what day during the
17· ·week?
18· · · ·A.· · I don't recall now.
19· · · ·Q.· · Was it -- did it matter when you
20· ·got on the computer?· Was it one of these
21· ·deals where you can get on any time you want
22· ·to or was there a set time?
23· · · ·A.· · It was a 9:00 class.
24· · · ·Q.· · 9:00 a.m. or --
25· · · ·A.· · P.M.


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                                                         EsquireSolutions.comYVer1f
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   IAN R. KING·                                                 April 23, 2014
   VANGELAKOS vs. WELLS FARGO                                              169

·1· · · · · · · · · · · · · ·King
·2· · · · ·Q.· · What days?
·3· · · · ·A.· · I don't know.· I don't recall.
·4· · · · ·Q.· · Just one day a week?
·5· · · · ·A.· · Yes.· I think it was one of those
·6· · ·classes where it was couple of hours one day
·7· · ·a week.
·8· · · · · · · ·MR. WATSON:· Exhibit 23.
·9· · · · · · · ·(Series of e-mails between Mr.
10· · ·King and Mr. Carifa was marked King Exhibit
11· · ·23 for identification)
12· · · · · · · ·MS. WILLS:· Did the pages change
13· · · · ·in my copy?
14· · · · · · · ·MR. WATSON:· No.· Yours is
15· · · · ·right.· Yours and his are identical.
16· · · · · · · ·MS. WILLS:· This is 23?
17· ·BY MR. WATSON:
18· · · · ·Q.· · Mr. King, you are now looking at
19· · ·Exhibit 23 which appears to be a series of
20· · ·e-mails between you and Mr. Carifa.
21· · · · · · · ·Page 1, can you read that?
22· · · · ·A.· · "It is okay.· The part time thing
23· · ·is frustrating due to the fact that it is
24· · ·going to take me a lot longer.· What are you
25· · ·up to this Sunday.· Is Sarah working."


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                                                         EsquireSolutions.comYVer1f
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    IAN R. KING·                                                 April 23, 2014
    VANGELAKOS vs. WELLS FARGO                                              191

·1· · · · · · · · · · · · ·King

·2· · · · · · · · · ·CERTIFICATE

·3· ·STATE OF NEW YORK )
· · · · · · · · · · · ·:· Ss
·4· ·COUNTY OF NEW YORK)

·5· · · · · · ·I, Steven Neil Cohen, a Registered

·6· ·Professional Reporter and Notary Public

·7· ·within and for the State of New York, do

·8· ·hereby certify:· That IAN RICHARD KING, the

·9· ·witness whose deposition is herein before

10· ·set forth, was duly sworn by me and that

11· ·such deposition is a true record of the

12· ·testimony given by such witness.

13· · · · · · ·I further certify that I am not

14· ·related to any of the parties to this action

15· ·by blood or marriage and that I am in no way

16· ·interested in the outcome of this matter.

17· · · · · · ·I further certify that neither the

18· ·deponent nor a party requested a review of

19· ·the transcript pursuant to Federal Rule of

20· ·Civil Procedure 30(e) before the deposition

21· ·was completed.

22· · · · · · ·In witness whereof, I have

23· ·hereunto set my hand this 2nd day of May

24· ·2014.

25· · · · · · · · · ·-------------------------
· · · · · · · · · · ·STEVEN NEIL COHEN, RPR


                                                          800.211.DEPO (3376)
                                                          EsquireSolutions.com
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jt




                                        UNITED      STATES    DISTRICT COURT
                                       SOUTHERN DISTRICT OF             NEW YORK

      3EORGE VANGELAKOS IAN KING
      JOSEPH KORONAKTS                 AND BARRY
      WAYNE       Individually    and on Behalf of All

      Others   Similarly    Situated



               Plaintiffs                                                      Case   No   13   CV   6574



      vs


      WELLS FARGO BANK N.A WELLS
      FARGO   COMPANY WFC HOLDINGS
      CORPORATION WACHOVIA
      CORPORATION AND WACHOVIA
      BANK N.A

               Defendants




           PLAINTIFF  IAN KINGS RESPONSES AND OBJECTIONS TO DEFENDANT
               WELLS FARGO BANK N.A.S FIRST REQUEST FOR PRODUCTION


                     Plaintiff   Ian ICing serves these    okjections   and responses to Defendant      Wells Fargo



     Bank N.A.s     First   Request    for   Production as follows




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                                                  OBJECTIONS TO INSTRUCTIONS

                         Ptaintiff     objects       to    instruction     Nos        1-1 1-4 1-10 and               l-   11     and    11   to    the extent     they



seek    to    impose requirements beyond                          the                 fonn   and     scope      of the Federal                     Rules of Civil
                                                                        proper


Procedure        governing          discovery         Plaintiff will       respond to said discovery                            pursuant          to   the   common


and acceptable           meanings           of any terms used therein                 and/or in accordance                     with the Federal Rules of



Civil   Procedure




        PLAINTIFF     IAN KINGS RESPONSES AND OBJECTIONS TO DEFENDANT
               WELLS FARGO BANK N.A.S FIRST REQUEST FOR PRODUcTION


REQUEST FOR PROPUgION                                        NO

                         Any   and     all       documents        you have provided               to or    received             from any expert witness

consultant        investigator         or other       agent and any report or document                          prepared authored                         or drafted

by     such     expert      witness              consultant        or    investigator              concerning                  your     allegations           against

Defendants



RESPONSE

             Plaintiff    objects      to    this   request to the extent that               it    calls    for disclosure              of any information

         that     constitutes         or    is   protected    by   the   following       privileges          and exemptions                   from discovery

                 the     attorney-client             priviege              the        work-product            doctrine                       the       investigative

         privilege                  the joint       defense privilege                  community of            interest           privilege                  common
         intcrest        privilege                settlement negotiations               privilege          and/or                any    other privilege




         Plaintiff        further      objects       to the    foregoing request              to    the    extent         it    seeks    infonnation             about

         and/or        from         consulting-only           expert     that    is   privileged and therefore                     not       discoverable



         Plaintiff        further      objects        to    the    foregoing          request      because      it
                                                                                                                          inipermissibly                 seeks   draft

         reports and privileged                    communications with testi1ing                      experts


         With regard           to   reports
                                                  of desigiated testifying experts Plaintiff                              will    supplement             when     they

         designate         experts          in   accordance
                                                   with any doekct control order                                               entered       in    the   case    or as

         otherwise         required by the Federal Rules of Civil Proccdurc




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REQUEST FOR PRODUCTION                                           NO

                        Any      and    all       resumes             or    curricula          vitae        prepared by or for any expert                          whom     you

expect    to   call    as     witness        at   trial       or for        any expert              whose opinions impressions                            or   work product
have   been reviewed             by        testifying           expert


RESPONSE

          Plaintiff         objects    to     this request                 to    the   extent        that    it    calls    for disclosure             of any information

          that constitutes            or    is   protected            by the following                     privileges        and exemptions               from discovery

                 the        attorney-client           privilege                          the        work-product              doctrine                   the    investigative

          privilege              the joint          defense privilege                                community of              interest          privilege           common
          interest      privilege                  settlement               negotiations              privilege and/or                       any other privilege



          Plaintiff         further                            the     foregoing                                    the                     seeks      information         about
                                       objects        to                                      request to                   extent     it



          and/or from             consulting-only                     expert           that    is
                                                                                                    privileged         and    therefore          not discoverable



          Plaintiff         further     objects           to    the         foregoing               request        because      it    impermissibly               seeks    draft


          reports and privileged                   communications with testiing experts



          With regard           to reports         of designated testifying experts Plaintiff                                         will       supplement        when    they

          designate           experts       in    accordance                    With    any docket                control     order        entered       in the    ease    or   as

          otherwise          required by the Federal Rules of                                      Civil    Procedure

          Plaintiff         objects    to this      request            to       the extent           that   it    calls    for disclosure           of any information

          that constitutes            or   is    protected            by the following                 privileges           and exemptions                from discovers

                 the        attorney-client          privilege                           the        work-product             doctrine                    the    investigative

          privilege              the joint         defense privilege                                 community of             interest        privilege fl           conunon
          interest      privilege                 settlement               negotiations              privilege and/or                       any     other      privilege



          Plaintiff         further    objects       to        the     foregoing              request        to the        extent     it    seeks      infonnation        about

          and/or       from       consulting-only                     expert that             is    privileged and therefore                     not     discoverable



          Plaintiff         further     objects          to     the        foregoing               request         because      it
                                                                                                                                      impermissibly               seeks    droll

          reports and privileged                   communications with testi1ing                                      experts


          With regard           to reports         of designated testifying experts Plaintiff                                         will    supplement           when    they

          designate          experts       in     accordance                with        any docket                control    order         entered       in the    ease    or as

          otherwise          required       by     the    Federal Rules of Civil                            Procedure




REQUEST FOR PRODUCTION                                          NO

                       Any      and     all       documents                     demonstrative               evidence           learned           treatises        authorities

photographs           graphs      charts           artists            renderings                   audio     recordings              video       recordings         business

records     deposition transcripts and                          excerpts               and/or        visual         aids    which          you    will    or   may seek         to


introduce      into    evidence       during the              trial    of       this    litigation




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RESPON$

     Plaintiff    objects          to   this                    to   the extent      that         calls    for disclosure        of any information
                                                   request                                  it



     that constitutes             or   is   protected        by      the   following   privileges           and exemptions from discovery

          the     attorney-client                  privilege                 the    work-product            doctrine                the   investigative

     privilege               the joint         defense privilege                     community             of interest     privilege            common
     interest    privilege                    settlement         negotiations        privilege and/or                    any     other privilege




     Plaintiff further objects                     because            premature      request        for    an Exhibit List violates             the   work

     product      privilege


                                                   that                                          ambiguous        and                  broad     Plaintiff
     Plaintiff    further         objects                 the     request     is   vague                                   overly

     further     objects          that       this    request         constitutes      an    imperinissible           fishing           expedition      and

     requires Plaintiff            to       marshal       all   evidence



     Subject     to    and without             waiver of the foregoing                 objections           see the     documents         produced      by
     Defendant          and/or         are    in    Defendants possession                        Please    also   see    documents         produced      in


     the Fernandez            and Scutis             cases        to the     extent responsive and the job                       descriptions        posted

     by Defendant            on the internet



     Please      also       see    documents               filed      in   support     of Plaintiffs              Motions        for    Rule    23    Class

     Certification          and Motion for                 FLSA        Conditional Certification                  in the    Scwts and          Fernandez

     cases




REQUEST FOR PRODUCTION                                    NO

                                                                                                           any time
                 All   documents              that    you provided            to   Defendants         at




RESPONSE

    Plaintiff     objects         that the          requested         documents        are       readily    available       to   Defendant       and    are

    already      in the      constructive             possession            of Defendant           and would he equally obtainable                     and

    accessible         to   Defendant


     Subject to and without waiver                          of the foregoing objections                     see the documents             produced      by
    Defendant           including            pay records              as   well as    documents            produced        in the      Fernandez       and

    Scurts    cases to the extent                    responsive




REQUEST FOR PRODUCTION                                    NO
                All    documents              that   you received            or    took from Defendants               at   any time




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RESPONSE

           Plaintiff objects             that the         requested          documents             are     readily      available    to    Defendant        and are

           already      in the      constructive            possession             of Defendant                 and would be equally              obtainable     and

           accessible         to   Defendant


           Subject      to    and without               waiver of the foregoing objections see the documents produced                                             by

           Defendant           including                                          well as documents                                             Fernandez        and
                                                    pay records              as                                        produced     in    the

           Scutis      oases to the extent                 responsive




REQUEST FOR PRODUCTJON                                          NO

                       All    documents including                       but not          limited          to    all   e-mails correspondence            and      any

communications               that relate to          any event or circumstance                       which you contend               caused       or contributed

in   any   way   to the injuries             and/or       damages you claim                   in    this       lawsuit



RESPONSE

           Plaintiff objects            to this         request to the extent               that     it    calls      for disclosure      of any information

           that constitutes             or   is   protected      by     the      following         privileges          and exemptions           from discovery

                 the    attorney-client                  privilege                 the    work-product                  doctrine            the    investigative

           privilege               the joint        defense privilege                       community of                 interest   privilege           common
           interest     privilege                  settlement negotiations                    privilege and/or                    any other privilege


           Plaintiff     objects         that      the   requested           documents             are     readily      available   to    Defendant      and     arc

           already      in   the constructive               possession of Defendant                            and would be equally              obtainable      and

           accessible        to    Defendant


           Plaintiff     Ilirther       objects         that this request constitutes                          an impermissible fishing             expedition
           and   requires Plaintiff                to    marshal      all    evidence



           Subject to and without                   waiver of the foregoing objections                                  see the   documents produced              by
           Defendant          including            pay records              as well      as   documents                produced     in the      Fernandez        and

           Sculls      cases       to   the       extent    responsive             and job          descriptions          posted    by Defendant            on   the

           internet



           Please      also       see    documents              filed       in    support      of Plaintiffs              Motions         for   Rule   23    Class

           Certification           and Motion             for   FLSA         Conditional Certification                     in the   Sculls      and Fernandez

           cases




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REQUEST FOR PRODUCTION                                             NO

                       All    documents                  including         but not        limited        to    all     c-mails correspondence                    and   any

communications              that relate           to    any event or circumstance                   which you contend                     caused         or contributed

in   any way   to     the injuries           and/or          damages you claim werc                       suffered        by anyone           whom        you contend
is   similarly situated           to    you


SPONSE
          Plaintiff objects             to    this      request       to the extent         that    it    calls        for disclosure         of any information

          that constitutes              or   is   protected         by the following           privileges               and exemptions              from discovery

               the     attorney-client                   privilege                  the    work-product                  doctrine               the       investigative

          privilege                the joint           defense privilege                    community of                  interest       privilege               common
          interest     privilege                   settlement          negotiations          privilege and/or                                 other
                                                                                                                                     any                 privilege

          Plaintiff objects              that      the       requested        documents        are readily               available       to   Defendant          and   are

          already      in    the constructive                  possession of Defendant                         and would           be equally         obtainable       and

          accessible         to   Defendant


          Plaintiff further             obj ects        that this request constitutes                         an impermissible fishing expedition

          and requires Plaintiff                   to    marshal        all    evidence



          Subject      to    and without waiver of the foregoing objections                                              see the     documents            produced      by
          Defendant           including            pay records as well as documents                                     produced         in the      Fernandez         and

          Sculls    cases to the extent responsive


          Please      also        see    documents                 filed      in   support    of Plaintiffs                   Motions         for    Rule     23    Class

          Certification           and Motion                 for   FLSA        Conditional Certification                      in   the   Sculls      and Fernandez

          cases




EWUEST FOR PRODUCTION NO

                      All    of your diaries                   daytimers            personal        notes            and/or     calendars           or   other     similar

documents      in     which        you have                  recorded         and/or      planned             any      of the      events                    1db
                                                                                                                                               in    your            from


Scptcmber      17 2007            until      the       present


RESPONSE

          Plaintiff    objects          that the request              seeks        infonration that               is   irrelevant        and that the request           is


          harassing and not reasonably                             calculated        to lead to      the        discovery          of admissible evidence



         Plaintiff     further          objects         to   this   request        because    it   violates            Plaintiffs        privacy




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REQUEST FOR PRODUCTION                                           NO

                    All    documents                  that   evidence          in
                                                                                     any way        how      you    spent   your work             time for Wells

Fargo   and/or   Wachovia             at       any time between September                           17 2007 and         the     present



flESPONSE

        Plaintiff objects             to       this
                                                       request     to    the extent          that    it   calls   for disclosure          of any information

        that constitutes             or    is   protected         by     the   following          privileges and exemptions                     from discovery

             the    attorney-client                    privilege                    the     work-product            doctrine                the     investigative

        privilege               the joint             defense privilege                      community of            interest    privilege                common
        interest    privilege                    settlement          negotiations             privilege andlcr                  any other privilege


        Plaintiff    objects          that the             requested       documents              are     readily   available        to   Defendant        and are

        already     in    the constructive                   possession             of Deibndant            and would be         equally obtainable               and

        accessible        to   Defendant


        Subject     to    and without                 waiver      of the foregoing objections                       see the     documents produced                 by
        Defendant          and/or          are        in    Defendants              possession            including     but     not       limited    to   building

        access     records entails facsimiles telephone                                     records parking            access    records and computer

        records among                others            Please also see documents                          produced     in the     Fernandez            and Sculls

        cases     to the extent                responsive



        Please      also       see    documents                  filed    in    support           of Plaintiffs        Motions            for   Rule      23    Class

        Certification          and Motion                  for   FUSA      Conditional Certification                   in the Scults             and Fernandez

        cases




REQUEST FOR PRODUCTION                                           NO tO

                   All     documents                  concerning          the   number of hours you claim                       to    have       worked        during

each week of your employment with Wells Fargo                                             and/or Wachovia



RESPONS

        Plaintiff objects            to     this request           to the extent             that   it    calls   for disclosure          of any informat ion

        that constitutes         or       is    protected        by the following                 privileges       and exemptions               from discovery

            the     attorney-client                    privilege                    the    work-product             doctrinc               the     investigative

        privilege              the joint          defense privilege                         community of             interest    privilege                common
        interest    privilege                    settlement         negotiations             privilege and/or                   any    other privilege



        Plaintiff    objects         that       the        requested      documents               are readily       available     to      Defendant        and    arc

        already     in   the    constructive                 possession of Delbndant                       and would      he equally obtainable                  and

        accessible       to    lefendant




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           Subject         to   and without waiver of                the   foregoing objections                 Sec    the   documents            produced    by

           Defendant             and/or       are    in    Defendants        possession             including         but    not       limited     to   building

           access     records          emails facsimiles telephone                    records parking             access          records and computer

           records                      others            Please also see documents                                   in the      Fernandez         and Sculls
                           among                                                                    produced

           cases      to    the      extent       responsive




REQUEST FOR PRODUCTION                                        NO      II

                       All       documents            reflecting      or   concerning         any vacation                 sick    time        PTO      personal

days   or    other     leaves          you took            during    your    employment with                 Wells Fargo                 and/or     Wachovia
without     regard     to       whether       such time off was paid or unpaid



RESPONSE

           Plaintiff objects             to this                                                           for disclosure              of any information
                                                      request to the extent that              it   calls

           that constitutes            or    is   protected    by    the   following       privileges and exemptions                       from discovery

                the                                                          the                             doctrine                     the
                           attorney-client            privilege                      work-product                                                 investigative

           privilege                 the joint       defense privilege                community of              interest          privilege             common
           interest    privilege                   settlement negotiations             privilege and/or                Ii    any other privilege


           Plaintiff       objects       that the         requested    documents           are     readily available              to   Defendant         and are

           already     in the         constructive          possession       of Defendant            and   would           be equally obtainable             and

           accessible           to   Defendant



           Subject     to       and without          waiver of the foregoing objections                      see the         documents            produced    by
           Defendant            and/or        are    in    Defendants        possession            including          but    not limited           to   building

           access     records eniails facsimiles telephone                            records parking             access          records and computer

           records         among        others        Please also see documents                    produced           in   the    Fernandez         and Scutis

           cases    to the extent             responsive




REQUEST FOR PRODUCTION                                        NO 12

                       All      documents           that relate      to refer to or describe               in   any        way     the   amount of wages
or otherincome you earned from any source during                                     the   period you were employed                        by Wells       Fargo
and/or Wachovia



RESPONSE

           Plaintiff obj acts           to    this request      to the     extent     that   it    calls   for disclosure              of any information

           that constitutes            or    is   protected    by   the    following       privileges and exemptions                       from discovery

               the     attorney-client                privilege              the    workproduct              doctrine                    the    investigative

           privilege                 the joint      defense privilege                 conimunity           of interest privilege                        common
           interest    privilege                   settlement                         privilege and/or
                                                                    negotiations                                             any other privilege




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        Plaintiff     obj ects that the               requested documents                      including             pay records and               W-2s       are readily

        available         to    Defendant             and     are        already    in    the       constructive            possession             of Defendant         and

        would be equally                   obtainable          and accessible             to    Defendant



        Plaintiff     further         objects          that    the                   seeks      information                that   is    irrelevant         and that the
                                                                          request

        request
                     is   harassing             and not reasonably                  calculated             to   lead to the            discovery         of admissible

        evidence          and    invades          PlaintifFs              privacy        particularly           as    it   relates      to       pay/income          records

        from other sources of income                                if
                                                                          any


        Plaintiff     further         objects          that the          request    is
                                                                                          vague ambiguous                     and overly broad                   Plaintiff

        firther      objects          that      this                      constitutes          an    inipermissible               fishing              expedition       and
                                                        request

        requires      Plaintiff           to   marshal        all        evidence



        Subject to and without                    waiver            of the foregoing objections see the documents                                         produced       by

        Defendant              including                 records as well                  as    documents             produced              in the      Fernandez       and
                                                 pay
        Sculls      cases       to the extent           responsive




REQUEST FOR PRoDUcTIoN                                        NO 13

                    All    documents              that      refer to            or describe         your perfornanee                     or failure        to   perform

your duties as an employee                      of Wells Fargo                   and/or    Waehovia                including            but       not limited to job

evaluations    and        or    performance              appraisals               of you        by        any   employee               of    Wells       Fargo       and/or

Wachovia


RESPONSE

        Plaintiff objects             to   this request to the                   extent    that      it   calls    for disclosure                of any information

       that constitutes              or   is   protected        by        the   following privileges and exemptions                                    from discovery

              the    attorney-client                  privilege                   the     work-product                 doctrine                    the    investigative

       privilege                the joint        defense privilege                         community of                    interest     privilege               common
        interest     privilege                  settlement               negotiations      privilege              and/or               any       other privilege




       Plaintiff      objects         that      the    requested documents                      are       readily available                 to   Defendant       and are

       already       in   the constructive               possession               of Defendant              and would be equally obtainable                             and

       accessible         to    Defendant



       Subject       to   and without waiver of the foregoing objections see the documents                                                                produced       by
       Defendant          and/or          are   in     Defendants possession                              Please     also     see      documents          produced        in


       the    Fernandez          and Scults             cases to the extent responsive


       Please       also       see    documents               filed        in    support        of Plaintiffs               Motions              for   Rule     23    Class

       Certification            and       Motion              ELSA          Conditional Certification                        in the     Scum           and Fernandez
       cases




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REQIJEST           FOR PRODUCTION NO 14

                             documents                                   your contention                          you were entitled
                      All                            relating       to                                    that                                   to   overtime    pay

      any work your performed for Defendants
                                                                                                             between                                       17 2007
for                                                                             for    any    period of time                               September

and the present



RESPONSE

           Plaintiff objects            to       this request       to   the extent          that    it   calls    for disclosure           of any information

           that constitutes            or    is   protected     by       the   following        privileges and exemptions from discovery

               the     attorney-client                privilege                  the     work-product                doctrine                the      investigative

           privilege             the joint defense privilege                                 community of interest                    privilege            common
           interest    privilege                   settlement        negotiations            privilege            and/or          any other privilege


           Plaintiff    objects         that the       requested           documents           are        readily available           to    Defendant       and    are

           already     in the constructive                   possession          of lefendant               and would           be equally obtainable             and

           accessible       to   Defendant


           Subject to and without                    waiver of the foregoing objections see the documents                                             produced by

           Defendant         including                                          well          documents                               in the     Fernandez        and
                                                    pay records           as            as                           produced
           Scuffs    eases       to    the        extent     responsive           and job descriptions                     posted      by Defendant            on the

           internet




           Please     also       see    documents             filed       in    support        of Plaintiffs               Motions         for   Rule     23    Class

           Certification         and Motion             for   FLSA         Conditional Certification                       in   the   Sculls     and Fernandez

           eases




REQUEST FOR PRODUCTION                                        NO 15

                     All     documents                that    refer      to     any    income              compensation               or   employee        benefits

received    by you from any source during                                the    period       you were employed                    by Wells Fargo               and/or

Wachovia


RESPONSEi

         Plaintiff objects             to    this request to the extent                  that       it    calls    for disclosure          of any information

         that constitutes             or    is    protected    by    the       following       privileges           and exemptions from discovery

               the     attorney-client                privilege                  the    work-product                 doctrine                the      investigative

         privilege               the joint          defense privilege                    community of interest privilege                                  common
         interest     privilege                    sottlemcnt       negotiations             privilege            and/or         any other privilege


         Plaintiff     objects         that the       requested documents                    including pay records and                      W-2s        are readily

         available      to   Defendant               and     are    already       in the       constructive            possession           of Defendant          and
         would be equally obtainoble                          and    accessible         to    Defendant




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          Plaintiff         further     objects               that   the    request         seeks        information               that      is     inelevant       and   that   the

          request          is   harassing           and not          reasonably             calculated            to   lead        to    the      discovery       of admissible

          evidence              and invades              PlaintifPs          privacy             particularly            as   it   relates          to    pay/income       records

          from other sources of income                                 if
                                                                            any


          Subject to and without waiver of the foregoing objections see the documents                                                                              produced by
          Defendant              including           pay       records           and   401K documents                     as       wcll as documents                produced       in


         the    Fernandez             and Scuies               cases        to    the extent        responsive




REQUEST           FOR PRODUCTION                                     NO      16

                       All       documents                that       evidence          memorialize or reflect                                the    number        of hours       you
worked    for   Wells Fargo and/or                        Wachovia               from September                   17 2007 and                  to   the    present


RESPONSE

         Plaintiff          objects     to        this    request      to        the extent        that     it   calls    for disclosure                  of any information

         that constitutes              or    is    protected          by     the    following            privileges and exemptions                           from discovery

                the        attorney-elicnt                privilege                    the        work-product                 doctrine                     the    investigative

         privilege                   the joint           defense privilege                         community of                    interest         privilege          common
         interest privilege                          settlement             negotiations           privilege and/or                               any other privilege


         Plaintiff          objects     that        the       requested           documents          are         readily available                   to   Defendant       and are

         already       in the constructive                       possession            of Defendant                and would be equally                          obtainable      and

         accessible             to   Defendant


         Subject       to       and without              waiver of the foregoing objections see the documents                                                      produced       by
         Defendant               and/or       are        in    Defendants              possession                including              but       not     limited to      building

         access       records emails facsimiles                                  telephone records parldng access records and computer

         records among                 others             Please also see docunients                             produced               in   the    Fernandez        and Sculls

         cases        to    the      extent        responsive               as    well      as    job descriptions                  posted by              Defendant       on    the

         internet




REQUEST FOR PRODUCTiON                                               NO 17

                      All
                                pay stubs leave                  statements              earnings         statements                and        W-2        Ibrms pertaining        to


you   for the   period          you were employed by Wells                               Fargo and/or                  Wachovia


RESPONSE

         Plaintiff         objects      to    this request             to    ihc extent           that    it     calls    For disclosure                  of any information

         that constitutes             or     is   protected           by    the    Following         privileges and exemptions                               from discovery

                the    attorney-client                    privilege                    the       workproduct                  doctrine                     the    investigative




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          privilege                  the joint     defense           privilege                 community of                   interest        privilege             common
          interest     privilege                 settlement           negotiations                 privilege andlor                          any    other privilege




          Plaintiff        objects      that the       requested documents                         including pay records and                          W-2s         are readily

          available         to    Defendant            and     are    already           in   the     constructive                 possession         of Defendant           and

          would       be equally obtainable                    and accessible                 to   Defendant



          Plaintiff        further      objects         that the          request          seeks     information              that      is    irrelevant      and    that    the


          request      is       harassing        and not reasonably                     calculated          to   lead        to    the       discovery      of admissible

          evidence          and      invades      Plaintiffs              privacy           particularly          as    it    relates         to    pay/income       records

          from other sources of income                           if       any


          Subject to and without                   waiver of the foregoing objections sec the documents                                                      produced        by
          Defendant including                     pay records               as    well       as    documents            produced               in   the   Fernandez         and

          Scutis      cases to the extent responsive




REQUEST           FOR PRODUCTION                               NO 18

                      All documents                that       rclate       to    or    constitute          communications                      between you           and    any
                former employee of Defendants                                                       your employment with
current   or                                                                relating          to                                                    Wells    Fargo and/or
Waehovia


RESPONSE

          Plaintiff        objects      to this    request           to   the extent          that    it   calls   for disclosure                   of any information

          that constitutes            or   is   protected       by        the    following          privileges and exemptions                             from discovery

                the    attorney-client                 privilege                      the    work-product                doctrine                     the    investigative

          privilege                  the joint    defense privilege                           community of                   interest         privilege             common
          interest     privilege                 settlement           negotiations             privilege           and/or                           other privilege
                                                                                                                                             any


          In particular           but without           limiting the              foregoing           Plaintiff         objects           to the     production       of    any
          communications between or among Plaintiffs                                              or opt-in Plantiffs or putative                          class   members

          pertaining        to    this     lawsuit pursuant                     to the                                 doctrine
                                                                                            work-product                                     investigative         privilege

          joint   defense privilege community of interest                                          privilege       common                 interest     privilege      and     to

          the   extent          copied      to    or     forwarded               from        their                           or     encompassing              information
                                                                                                      attorneys

          provided         to   or   by their attorneys the attorney-client communication privilege


          Plaintiff    objects          that     the    requested documents                        are readily           available             to   Defendant        and    tire



          already     in    the constructive              possession              of Defendant              and would be equally obtainable                                 and
          accessible        to    Defendant


          Plaintiff    further         objects         that   the                      seeks       information               that    is      irrelevant      and    that    the
                                                                      request

          request     is    harassing           and not reasonably                     calculated          to    lead        to   the     discovery         of admissible

          evidence




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          Plaintiff     further     objects               that the         request       is    vague         ambiguous            and    overly        broad         Plaintiff

          furfier      objects      that           this    request          constitutes           an    impermissible                 fishing expedition                        and

         requires      Plaintiff         to    marshal          all    evidence



          Subject to and without waiver of the foregoing objections                                                         see the     documents             produced           by
         Defendant          and/or        are in          Defendants possession                              Please    also       see    documents            produced           in

         the    Fernandez and                 Scults       cases       to       the extent       responsive




REQUEST FOR PRODUCTION                                          NO 19

                      All   documents               that relate            to or constitute            communications                   between        you         the   United

States   Department          of Labor any state department                                     of labor        or equivalent             state       agency         any other
administrative
            agency or any other person other                                                  than     your counsel              in   this   case      relating          to   your

employment with Wells Fargo andlor Waehovia


RESPONSE

         Plaintiff     objects      to this          request          to    the       extent    that    it   calls    for disclosure               of any information

                                   or                                                                                                                  from discovery
         that constitutes                is    protected          by       the    following          privileges and exemptions

                the    attorney-client                   privilege                     the     work-product             doctrine                     the     investigative

         privilege               the joint          defense privilege                           community of                interest         privilege              common
         interest     privilege                    settlement negotiations                       privilege andlor                       any other privilege



         In particular but              without            limiting the               foregoing         Plaintiff      objects          to   the     production          of any

         communications between                            or   among            Plaintiffs      or opt-in Plantiffs                  or putative          class    members

         pertaining         to   this    lawsuit            pursuant             to    the    work-product             doctrine          investigative             privilege

         joint    defense privilege community of interest                                         privilege           common            interest      privilege           and    to


         the    extent      copied            to    or     forworded              from         their    attorneys           or    encompassing                information

         provided to or by their attorneys the attorney-client communication privilege


         Plaintiff     Ilirther     objects              to the   extent          materials          have      been     collected            by PlaintifPs           counsel

         through       their     investigation                  since      such documents                arc attorney work product gathered  for

         this    litigation      alone             and       description               of those        records if any  would  necessarily reveal

         Plaintiffs         counsels thought                    process and reveal                     Plaintiffs       counsels             litigation       strategy




REQUEST FOR PRODUCTION                                          NO 20

                            documents                                           any other lawsuit that you have
                      All                           that relate            to                                                                filed    or   has     been       filed


on your behalf



 ES PC      SE

         Plaintiff     objects      to    this       request          to   the        extent    that   it    calls    for   disclosure          of any information

         that constitutes         or     is   protected           by the following                   privileges        and exemptions              from discovery




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                 the     attorneyclient                        privilege                    the       work-product               doctrine               the     investigative

             privilege                  the joint          defense privilege                           community of               interest         privilege           common
             interest   privilege                        settlement              negotiations          privilege and/or                          any other privilege


         Plaintiff           tbrther objects                   that       the     request       seeks        information          that      is    irrelevant     and    that the


         request         is       harassing             and not reasonably                      calculated          to    lead   to    the       discovery     of admissible

             evidence



         Plaintiff           further objects                   that       the    request        is   vague         ambiguous           and        overly broad         Plaintiff

         further        objects              that       this    request            constitutes          an     impennissiblc                fishing         expedition          and

         requires Plaintiff                    to      marshal           all    evidence



         Moreover                  as   Defendant               is       aware         Plaintiff      worked         for   both Wachovia                and    Wells        Fargo

         resulting            in   an additional lawsuit                               Defendant         is   already          privy    to the       records    in that other

         case and Plaintiff                        objects          to    producing records already                        in   Defendants            possession



         Please         also           see    documents                   filed     in    support         of Plaintiffs               Motions         for    Rule     23    Class

         Certification                  and Motion              for       FLSA          Conditional Certification                     in the       Scults    and Fernandez

         cases




REQUEST FOR PRODUCTION                                                   NO 21

                        All documents                                                   any other administrative action that you have
                                                           that relate            to                                                                                    filed    or

has   been    filed    on your behalf



RESPONSE

         Plaintiff objects                   to     this     request            to the    extent      that    it   calls   for disclosure             of any information

         that constitutes                 or      is   protected               by the following              privileges         and exemptions              from discovery

                 the    attorney-client                       privilege                    the       work-produci               doctrine                the    investigative

         privilege                      the joint          defense privilege                          community of interest                       privilege           common
         interest       privilege                       settlement               negotiations          privilege           and/or                any other privilege


         Plaintiff       further             objects          that        the request        socks        information            that       is    irrelevant    and     that    the

                              harassing                and     not reasonably                calculated             to lead to        the        discovery     of admissible
         request        is


         evidence



         Plaintiff       further             objccts         that        the     request     is      vague         ambiguous          and        overly broad          Plaintiff

         further        objects              that      this    request            constitutes          an     impermissiblc                 fishing      expedition            and

         requires Plaintiff                   to       marshal           all    evidence



         Moreover                 as    Defendant              is    aware          Plaintiff        worked         for    both Wachovia               and     Wells Fargo

         resulting           in    an    additional             lawsuit             Defendant           is    already      privy       to    the    records     in   that   other

        case and Plaintiff                        objects       to       producing         records        already         in    Defendants possession




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RE QUEST FOR PRODUCTION                                         NO 22

                       All    documents              that    record or refer to any internal                 grievances          complaints        or reports

tiled   by you during your employment with Wells                                     Fargo and/or Wachovia


RESPONSE

          Plaintiff     objects          to    this request       to   the extent      that    it   calls    for disclosure            of any information

          that constitutes           or       is   protected     by the following            privileges       and exemptions              from discovety

                 the    attorney-client                   privilege            the    work-product                doctrine               the   investigative

         privilege                 the joint          defense privilege                community of                interest     privilege           common
          interest     privilege                    settlement     negotiations        privilege            and/or             any other privilege


          Plaintiff                      that       the    requested documents              are readily           available       to   Defendant     and are
                        objects

         already       in    the    constructive             possession of Defendant                  and    would be           equally    obtainable       and

         accessible          to   Defendant


          Subject      to    and without              waiver of the foregoing objections                          sec   the    documents produced           by

         Defendant           and/or       are in          Defendants possession                     Please also see documents                   produced     in


         the     Fernandez          and Sculls cases to the extent responsive




RE.OUEST          FOR PRODUCTION                                NO 23

                             witness
                       All                     statements        or declarations        you have            obtained          front    any witness in    this


action   including          hut not limited to statements                     or declarations          of putative        class        members     or current

or   former employees              of Wells Fargo               and/or    Wachovia


RESPONSE

         Plaintiff      objects         to this request           to the extent       that    it    calls   for    disclosure          of any information

         that constitutes           or    is       protected     by the following        privileges           and exemptions              from discovery

                 the   attorney-client                    privilege            the   work-product                 doctrine               the   investigative

         privilege                 the joint         defense privilege                community              of interest        privilege          common
         interest      privilege                    settlement     negotiations        privilege and/or                       any other privilege


         In particular            but    without           limiting the       foregoing       Plaintiff       objects to         the    production    of any

         communications between                            or   among    Plaintiffs    or opt-in Plantiffs or putative                     class   members

         pertaining          to   this    lawsuit           pursuant     to    the   work-product            doctrine          investigative       privilege

         joint    defense privilege                   community of interest privilege                       common            interest   privilege    and    to

         the     extent      copied            to    or    forwarded      from       their    attorneys           or    encompassing           information

         provided       to    or   by their attorneys the attorney-olient communication privilege


         Please also see documents                           including        Declarations          filed    in   support       of PlaintilTh Motions

         for   Rule 23 Class Certification                       and Motion Ibr        FLSA          Conditional Certification in the Sculls

         and Fernandez              cases




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REQUEST FOR PRODUCTION                                          NO 24

                      All    documents               that constitute          record or refer              to   communications              between you and

      current     or former employee of Defendants                              regarding            the                                 action
any                                                                                                        allegations      in    this




RESPONSEj

          Plaintiff    objects          to     this request       to the      extent     that    it    calls    for disclosure           of any information

          that constitutes          or    is    protected        by the following             privileges         and exemptions              from discovery

                the    attorney-client                    privilege             the    work-product               doctrine                  the    investigative

          privilege               the joint          defense privilege                   community of              interest       privilege               common
          interest    privilege                     settlement negotiations              privilege and/or                     any       other privilege




          In particular           but without              limiting the       foregoing         Plaintiff        objects    to the       production          of any

          communications between or among                                Plaintiffs       or opt-in Plantiffs              or putative            class   members

          pertaining        to    this    lawsuit pursuant               to the       work-product               docttine        investigative            privilege

          joint   defense privilege community of interest privilege                                             common      interest         privilege       and    to


          the   extent       copied            to    or    forwarded          from     their    attorneys          or   encompassing                information

          provided      to or      by their attorneys the attorney-client communication privilege



          Plaintiff    objects          that        the   requested     documents             are     readily available           to     Defendant          and    are

          already     in    the    constructive              possession        of Defendant                and would be equally               obtainable          and

          accessible        to   Defendant


          Subject to and without waiver of the foregoing objections                                               see the     documents             produced by
          Defendant         and/or        are in Defendants possession                                Please also sec         documents             produced        in


          the   Fernandez          and Scutis              cases to the extent responsive




REQUEST FOR PRODUCTION                                          NO 25

                      All   notes and any other documents                             prepared by you that relate to concern                               pertain

support    or establish           or upon which                 you   rely in    making        the     claims alleged            in   the   Complaints


RESPONSE

          Plaintiff    objects       to      this request         to the extent         that    it    calls     for disclosure          of any information

          that constitutes          or    is   protected         by the following             privileges         and exemptions              from discovery

                the   attorney-client                 privilege                the     work-product               doctrine                  the    investigative

          privilege               the joint          defense privilege                  community of               interest      privilege          fr    common
          interest    privilege                     settlement     negotiations          privilege and/or                   any other privilege


          In particular          but without               limiting the       foregoing         Plaintiff        ohjeets    to    the    production         of    any
          communications between                           or   among   Plaintiffs       or opt-in Plantiffs or putative                      class       members
        pertaining          to   this    lawsuit pursuant                to   the     work-product              doctrine      investigative              privilege

        joint     defense privilege                  community of             interest   privilege              common      interest        privilege       and    to




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          the    extent                             to    or     forwarded          from     their    attorneys        or    encompassing               information
                                  copied

          provided           to   or by their attorneys the attorney-client communication privilege



          Also     in    particular                 but        without        limiting      the   thregoing         notes        by     any Plaintiff           or    opt-in

          Plaintiff          made regarding                       this    litigation        and    for
                                                                                                           purposes     of       this    litigation        if    any     are

          protected          by the attorney-client communication privilege and work-product privilege



          Plaintiff      objects           that the             requested          documents        are    readily available             to    Defendant             and are

          already       in    the    constructive                 possession of Defendant                    and would be equally obtainable                            and

          accessible          to    Defendant


          Subject       to    and without                  waiver of the foregoing                 objections         see the         documents        produced           by
          Defendant           and/or           are        in    Defendants           possession            Please    also    see      documents         produced          in

          the   Fernandez            and Scuirs cases to the extent responsive




REQUEST FOR PRODUCTION                                                NO 26

                      All         documents                that   relate      to    any policies and/or             practices         of Defendants              that   you
contend    caused       or contributed                     in   any way        to   your alleged damages



RESPONSEi

          Plaintiff      objects          to    this       request       to the extent         that   it   calls    for disclosure            of any information

          that constitutes               or    is   protected          by     the   following      privileges and exemptions                        from discovery

                the     attorney-client                        privilege              the    work-product             doctrine                  the    investigative

          privilege                 the joint             defense privilege                    community of            interest         privilege               common
          interest      privilege                        settlement                               privilege        and/or
                                                                            negotiations                                              any other privilege


          Plaintiff objects               that           the    requested       documents          are     readily available             to   Defendant          and     are

          already       in   the     constructive                 possession of Defendant                    and    would        be equally obtainable                  and

          accessible         to    Defendant


          Subject       to   and without waiver of the foregoing                                   objections         see the         documents        produced by
          Defendant           and/or          are in           Defendants possession                       Please also see documents                   produced           in

          the   Fernandez            and        Sculls           cases to the extent responsive                      and the job descriptions                        posted

          by Defendant              on the internet



          Please      also         see    documents                   flied    in
                                                                                     support       of Plaintiffs        Motions               for   Rule        23    Class

          Certification            and Motion                   for   PLSA         Conditional Certification                in   the    Sculls      and Fernande

          cases




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REQUEST          FOR PRODUCTION                                    NO 27

                      All      documents                   that    describe                       job                                         or     work        experience         in
                                                                                         your                 responsibilities

connection      with        your employment                       at    Wells          Fargo     antI/or        Wachovia             including             but    not   limited     to


all   resumes    letters          employment applications                                faxes or c-mails you have prepared



RESPONSE

                                                                                                                                                         of any infonnation
                                                          request to the extent
         Plaintiff objects               to       this                                            that     it    calls    for disclosure

         that constitutes               or    is    protected          by    the       following      privileges and exemptions                                from discovery

                the     attorney-client                    privilege                     the     work-product                  doctrine                    the     investigative

         privilege                 the joint             defense privilege                        community of                  interest        privilege                common
         interest      privilege                     settlement negotiations                                             and/or
                                                                                                   privilege                                  any other privilege


         Plaintiff objects              that         the    requested              documents          are       readily        available           to    Defendant           and   are

         already in the copstructive                            possession              of Defendant              and would be equally                           obtainable        and

         accessible          to   Defendant


         Plaintiff further                                 that    the       request seeks            infommation               that                               and
                                                                                                                                         is                               that the
                                        objects                                                                                                irrelevant

         request       is    harassing              and not        reasonably                 calculated         to   lead     to   the       discovery           of admissible

         evidence



         Plaintiff further              objects           that the      request          is   vague      ambiguous              and overly broad                   to   the extent

         it   refers    to    work                experience                 Plaintiff         further          objects      that    this request                constitutes        an

         impermissible              fishing expedition and requires Plaintiff                                             to    marshal            all    evidence



         Subject       to    and without waiver of the foregoing objections see the documents produced                                                                             by
         Defendant           and/or          are in        Defendants possession                                Please also see documents                          produced         in


         the   Fernandez and Scuas cases                                     to   the    extent     responsive and                   the      job descriptions               posted

         by Defendant              on    the internet




         Please       also        see   documents                  filed          in   support        of PlaintifTh                 Motions              for    Rule    23    Class

         Certification            and Motion                for    FLSA            Conditional Certification                        in   the    LSCUUS          and Fernandez

         cases




REQUEST FOR PRODUCTION                                            NO

                      All    documents                   that   evidence               memorialize or reflect the job titles                                     and positions

you held during your employment with Wells Fargo and/or                                                          Wachovia


RFSPONSEI

        Plaintiff      objects          to        this   request        to   the       extent    that    it     calls    for    disclosure               of any information

        that constitutes            or       is    protected           by the following               privileges          and exemptions                       from discovery

               the    attorney-client                     privilege                     the     work-product               doctrine                       the     investigative




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            privilege                    the joint         defense privilege                   community of            interest        prkilege            common
            interest          privilege                   settlement       negotiations        privilege and/or                       any other privilege


            Plaintiff                          that       the                    documents          are readily available                     Defendant        and   arc
                               objects                           requested                                                              to


            already           in the constructive                  possession         of Defendant           and would           be equally          obtainable      and

            accessible             to   Defendant


            Subject           to   and without waiver of the foregoing                              objections        see the         documents        produced       by

            Defendant              and/or          are    in    Defendants possession                      Please also see documents                   produced        in


            the    Fernandez                  arid      Sculls    cases        to the extent      responsive          and the job descriptions                 posted

            by Defendant                 on the internet




REQUEST FOR PRODUCTION                                                 NO 29

                          All       documents              that    you received            from Defendants             at   any time that describe                your

job duties with               Wells Fargo and/or                   Wachovia                           but not limited                  job descriptions
                                                                                                                                 to
                                                                                      including




RESPONSE

            Plainti      if    objects         to this request            to the extent       that    it   calls    for disclosure           of any information

            that constitutes                  or   is   protected       by the following            privileges and exemptions                      from discovery

                   the        attorney-client                   privilege             the    work-product             doctrine                 the    investigative

            privilege                    the joint         defense privilege                  community of             interest        privilege           common
            interest          privilege                   settlement       negotiations        privilege and/or              hI any          other privilege



            Plaintiff         objects          that the          requested       documents          are    readily    available         to   Defendant      and      are

            already           in the constructive                  possession of Defendant                   and    would        be    equally      obtainable       and

            accessible             to   Defendant



            Subject to and without                         waiver       of the foregoing objections                   see the         documents       produced       by
            Defendant              and/or          are in       Defendants possession                      Please   also    see       documents        produced       in


            the    Fernandez              and Sculls cases                 to the     extent      responsive and the job descriptions                          posted

            by Defendant                 on the internet



            Please        also          see    documents               filed    in
                                                                                     support      of Plaintiffs             Motions          for   Rule   23    Class

            Certification               and Motion               for   FLSA      Conditional Certification                  in   the Sculls        and Fernandez

            cases




9UEST               FOR PRODUCTION                                     NO 3Q

                         All       documents              that    evidence        reflect    or   memorialize the hours you were scheduled

to   work    for   Wells           Fargo and/or             Wachovia




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RES PONSE.


         Plaintiff                     to                                                                                            of any information
                      objects                ibis     request to      the extent       that                 for disclosure
                                                                                              it    calls


          that constitutes            or   is    protected     by    the    following    privileges and exemptions from discovery

               the    attorney-client                 privilege               the   work-product                 doctrine              the    investigative

          privilege              the joint          defense privilege                  community of interest                    privilege         common
         interest    privilege                    settlement        negotiations       privilege and/or                    any       other   privilege



         Plaintiff    objects          that the        requested       documents         are readily             available      to    Defendant        and    are

         already     in the       constructive           possession          of Defendant            and would be equally obtainable                         and

         accessible        to   Defendant


         Subject to and without waiver of the foregoing objections see the documents                                                          produced by
         Defendant         and/or          are in     Defendants possession                        Please   also     see   documents          produced         in


         the   Fernandez              and 5cutts        cases        to the extent      responsive and the job descriptions                            posted

         by Iefendant            on the internet



         Please      also       see    documents             fled      in                of Plaintiffs             Motions           for   Rule   23     Class
                                                                            support
         Certification          and Motion             for   FLSA       Conditional Certification                   in the      Scuus and Fernandez

         cases




REQUEST FOR PRODUCTION                                       NO 31

                     All   documents that you received                        from Defendants               at   any time that evidence                reflect

or   memorialize the hours you worked                          for    Wells Fargo and/or              Wachovia


RESPONSE

         Plaintiff    objects          that the       requested        documents         are readily available                  to   Defendant     and arc

         already     in the      constructive            possession          of Defendant           and     would be           equally     obtainable        and

         accessible        to   Defendant


         Subject     to    and without waiver of the foregoing objections see the documents                                                  produced by
         Defendant         and/or          are   in   Defendants possession                     Please      also    see    documents          produced        in


         the   Fernandez and                Sculls      cases    to the       extent    responsive and               the   job descriptions            posted

         by Defendant            on the internet



         Please also            sec    documents             filed    in    support     of Plaintiffs              Motions           for   Rule   23    Class

         Certification          arid   Motion          for   FLSA      Conditional Certification                    in   the   SCullS      and Fernandez

         cases




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REQUEST FOR PRODUCTION                                  NO 32

                   All    documents           you received                from Defendants             at   any time that refer            or relate    to

summarize       or reflect      Wells Fargos             and/or           Wachovias             policies   and/or    procedures         for recording

hours worked



RESPONSE

        Plaintiff objects           that    the   requested           documents           are    readily    available     to    Defendant         and arc

                         the    constructive                                of Defendant           and would        be equally obtainable             and
        already    in                               possession
        accessible       to    Defendant


        Subject    to    and without waiver of the foregoing                              objections see the documents                   produced      by

        Defendant         and/or      are in      Defendants posscssion                          Please    also see   documents           produced     in

        the   Fernandez and Scuus cases                         to    the    extent     responsive and the job descriptions                       posted

        by Defendant           on the internet



        Please     also       see   documents           filed        in    support        of Plaintiffs       Motions          for    Rule   23     Class

        Certification         and    Motion       for   FLSA          Conditional Certification                in the Scuits          and Fernandez

        cases




REQUEST         FOR PRODUCTiON                          NO 33

                  All     documents           you received                from    Defendants          at   any time that refer or relate              to

summarize       or reflect      Wells Fargos and/or                       Wachovias         policies       and/or   procedures          regarding     the

            of overtime wages
pay inent


RESPONSE

        Plaintiff objects           that    the   requested          documents            are    readily available        to   Defendant      and are

        already in the constructive                 possession              of Defendant           and would be equally obtainable                   and

        accessible       to   Defendant


        Subject    to   and without waiver of the foregoing objections see the documents                                                 produced     by
        Defendant        and/or       arc    in   Defendants                possession            Please    also    see   documents          produced
        within the Fernandez                and Scuils          cases        to   the   extent      responsive and          the      job descriptions

        posted    by Defendant             on the Internet



        Please    also        see   documents           filed        in
                                                                           support      of Plaintiffs         Motions          for    Rule   23    Class

        Certification         and   Motion        for   PtSA          Conditional Certilication                in   the   Sculls      and Fernandez

        cases




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REQUEST FOR PRODUCTION                                          NO 34

                     All    documents                  that   evidence         the   amount      of    time you spent performing                  marketing

activities   or other      work       for        Wells Fargo and/or Wachovia                          before or   after    your regularly-scheduled

workday


RESPONSEj

         Plaintiff    objects          to       this    request to the extent            that    it   calls   for disclosure        of any information

         that constitutes             or    is   protected       by     the    following    privileges and exemptions                     from discovery

              the     attorney-client                   privilege                 the   work-product             doctrine             the   investigative

         privilege               the joint             defense privilege                 community of             interest    privilege            common
         interest    privilege                    settlement negotiations                 privilege and/or                   any other privilege



         Plaintiff    objects          that the          requested        documents         are       readily    available     to   Defendant       and are

                           the constructive                   possession of Defendant                   and would      be equally obtainable              and
         already     in


         accessible        to    Defendant


         Subject to and without waiver of the foregoing objections                                               see the    documents        produced by
         Defendant          and/or         are     in    Defendants possession                        Please also see documents              produced      in

        the   Fernandez            and Scutts cases to the extent responsive and the job descriptions                                                  posted

         by Defendant             on the internet



         Please      also       see    documents                filed    in     support    of Piaintifih           Motions          for   Rule    23    Class

         Certification           and Motion               for   FLSA          Conditional Certification             in the Sculls         and Fernandez

        cases




REQUEST FOR PRODUCTION                                          NO 35

                     All    documents                  that   evidence the amount               of time you spent perfonning                     marketing

activities   or other       work       for       Wells Fargo             and/or      Wachovia          on       weekend day          that   was   not   your

regularly-scheduled workday



RESPONSF4

        Plaintiff     objects         to this request             to the       extent    that   it    calls   for disclosure        of any information

        that constitutes           or      is    protected      by      the   following    privileges           and exemptions         from discovery

              the    attorney-client                    privilege               the     \vork-product           doctrine             the    investigative

        privilege                the joint         defense privilege                     community of interest privilege                          common
        interest     privilege                    setilement negotiations                 privilege and/or                 any other privilege


        Plaintiff     objects         that        the    requested documents               are        readily   avnilable     to    Defendant       and arc

        already      in    the   constructive                 possession of Defendant                  and would be equally obtainable                   and

        accessihlc         to    Defendant




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          Subject      to    and without            waiver of the foregoing objections                              see the      documents produced                 by

          Defendant          and/or         are in    Defendants                   possession           Piease     also    sec   documents          produced        in


          the   Fernandez and                    Scuxis   cases         to    the    extent    responsive and the job descriptions                              posted

          by Defendant            on    the internet




          Please      also       see    documents               filed        in    support     of Plaintiffs          Motions             for   Rule      23     Class

          Certification          and        Motion        for   FLSA          Conditional          Certification          in   the Scutts       and Fernande.r

          cases




REQUEST            FOR PRODUCTION                               NO

                      All documents                        evidence               any amount of time you contend you performed work
                                                   that

for   Defendants       for   which you were not compensated


RESPONSE

          Plaintiff     objects        to    this request            to the        extent   that   it    calls   for disclosure           of any infonnation

          that constitutes             or   is   protected       by the following               privileges         and exemptions               from discovery

                the    attorney-client               privilege                      the     work-product           doctrine                 the   investigative

          privilege               the joint         defense privilege                       community of            interest         privilege            common
          interest    privilege                   settlement          negotiations            privilege and/or ii                any      other privilege



          Plaintiff     objects         that      the requested              documents         are      readily    available         to    Defendant       and     are

          already      in the constructive                 possession of Defendant                        and would be equally obtainable                         and

          acccssihle        to   Defendant


          Subject     to    and without waiver of                       the       foregoing objections             see the       documents         produced by
          Defendant          and/or         are in   Defendants                   possession            Please also see documents                  produced         in

          the   Fernandez and                Scuas cases                to   the    extent    responsive           and the job descriptions                    posted

          by Defendant            on the internet



          Please      also       see    documents               filed        in    support     of Plaintiffs          Motions             for   Rule   23       Class

          Certification          and    Motion        for       FLSA          Conditional Certification                   in   the   Sculls     and Fernandez

          cases




REQUEST FOR PRODUCTION                                       NO 37

                      All    documents             related      to   your participation or enrollment in any academic program

during your employment                      with Wells Fargo                      and/or    Wachovia             including       but      not   limited    to    your
class   schedules and class location




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RESPONSEi

          Plaintiff objects             to this      request          to   the extent         that    it   calls   for disclosure               of any information

          that    constitutes          or   is   protected        by       the   following         privileges and exemptions                          from discovery

                  the    attorney-client                privilege                    the    work-product                doctrine                     the    investigative

          privilege               the joint        defense privilege                          community of               interest            privilege          common
          interest      privilege                 settlement              negotiations        privilege andlor                Ii        any other privilege


          Plaintiff          further   objects          that the          request      seeks     information             that      is    irrelevant         arid   that the

          request       is    harassing          and not reasonably                    calculated           to   lead    to   the       diseoveiy of admissible

          evidence



          Plaintiff      further       objects          that    the       request      is
                                                                                            vague          ambiguous          and overly broad                     Plaintiff

          further       objects        that      this    request           constitutes        an     impermissible                 fishing           expedition         and

          requires Plaintiff             to      marshal       all    evidence



          Subject to and without                    waiver of the foregoing                      objections see the documents                               produced by

          Defendant            and/or       are    in   Defendants                possession               Please also see documents                        produced      in


          the    Fernandez and Scuiss                     eases           to    the extent     responsive and the job descriptions                                  posted

          by Defendant            on the internet




REQUEST           FQR PRODUCTION                               NO 38

                        All documents               that       support          or   relate to      your contention                     if    any    that   any alleged
violation   by Defendants                of the         FLSA         was not in good               faith     or    otherwise            done with            reasonable

grounds     for   believing that any act or omission was not                                         violation          of the      FLSA

RESPONSE

          Plaintiff      obj eets      to     this request           to    the    extent     that    it    calls   for disclosure               of any      information

          that constitutes          or      is   protected       by       the    following      privileges and exemptions                             from discovery

                 the    attorney-client                 privilege                    the    work-product                doctrine                    the    investigative

          privilege              the joint         defense privilege                         community of                interest            privilege         common
          interest      privilege                 settlement          negotiations            privilege and/or                          any other privilege


          Plaintiff      objects that the requested documents                                        are readily available                      to    Defendant and
          are    already       in the       constructive             possession of Defendant                       and would be equally                      obtainable

          and accessible to Defendant



          Subject       to    and without          waiver of the foregoing                      objections              see the         documents produced               by
          Defendant           and/or        are in      Defendants possession                             Please    also see            documents           produced     in


          the    Fernandez         and        Sculls     eases        to       the   extent    responsive and the job descriptions                                  posted

          by Defendant           on the internet




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             Please      also      see     documents                         in                  of Plaintiffs            Motions          for    Rule       23     Class
                                                                   Elect           support
             Certification          and Motion               for   FLSA          Conditional Certification                in    the   Scuts and Fernundez

             cases




REQUEST FOR PRODUCTiON                                             NO 9j

                         MI documents                     that    support        or relate     to    your contention             if    any       that    any alleged
violation      by     Defendants               of the       FLSA was              not   in   conformity            with   and    in reliance            on        written

administrative           regulation            order riding approval                      interpretation            administrative          practice or policy
of the United          States      Department of Labor


RESPONSE

             Plaintiff    objects         to       this   request     to    the extent        that    it   calls   for disclosure          of any information

         thai     constitutes            or    is   protected       by     the    following      privileges and exemptions                       from discovery

                 the     attorney-client                   privilege                the      work-product            doctrine                the        investigative

         privilege                  the joint             defense privilege                   community of            interest        privilege              common
         interest        privilege                   settlement          negotiations          privilege and/or                  any other privilege


         Plaintiff        objects          that the         requested documents                  are readily available                to   Defendant          and     are

         already         in   the    constructive                possession of Defendant                     and    would be equally              obtainable         and

         accessible           to    Defendant

         Subject         to   and without waiver of the foregoing objections see the documents                                                          produced      by
         Defendant             and/or         are in       Defendants possession                           Please also see documents                    produced       in


         the     Fernandez            and Scutts eases to the extent responsive and the job descriptions                                                          posted

         by Defendant                on the internet



         Please          also      see     documents               filed     in    support      of Plaintiffs             Motions          for    Rule       23    Class

         Certification             and     Motion           for    FIASA Conditional Certification                        in   the    Sculls      and FCJ-IWLIUICZ

         cases




REQUEST FOR PRODUCTION                                            NO 40

                       All    documents               that   evidence any work performed for Wells Fargo and/or Wachovia

by   other    current     or       Conner employees                 of Welts Fargo and/or Wachovia with whom you                                             claim    to


be similarly situated              and for which                 you contend those individuals were not compensated


RESPONSE

         Plaintiff       objects         to this request             to    the extent         that   it    calls   lhr disclosure          of any information

         that constitutes             or      is    protected       by     the   following      privileges and exemptions                        from discovery

                 the     attorneyclient                   privilege                the       work-product            doctrine               the     investigative

         privilege                  the joint         defense privilege                      community of             interest       privilege               common
         interest       privilege                    settlement       negotiations            privilege and/or                   any other privilege




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            Plaintiff      objects         that       the    requested documents                are      readily   available         to    Defendant             and    arc


            already       in the constructive                  possession           of Defendant             and would be equally                 obtainable           and

            accessible          to   Defendant


            Subject       to    and without             waiver of the foregoing objections see the documents produced                                                   by
            Defendant           and/or          are   in    Defendants possession                       Please    also    see   documents             produced           in


            the    Fernandez and                    Sculls    cases        to the    extent    responsive and the job descriptions                               posted

            by Defendant              on the Internet



            Please       also        see       documents           filed     in    support     of Plaintiffs             Motions          for    Rule       23     Class

            Certification            and Motion              for   .PLSA Conditional               Certification         in   the    Scults      and Fernandez

            cases




REQUEST FOR PRODUCTION                                             NO 41

                         All    documents              which       relate    to bear upon or provide                evidence relating                 to   any claim
for   damages       set forth in the                Complaints to which               you claim         to   be entitled      including         but        not limited


to    any    evidence           of unpaid              wages        unpaid          overtime       compensation               lost   benefits          diminished

earning      capacity          mental anguish                  punitive          damages       liquidated        damages            attorneys fees               and/or

      other       element of claimed damages
any


RESPONSE

            Plaintiff objects              to   this request to the               oxtont    that   it    calls   for disclosure           of any information

            that constitutes              or   is   protected       by     the    following    privileges         and exemptions                from discovery

                   the    attorney-client                  privilege                the    work-product            doctrine                 the    investigative

            privilege                 the joint        defense privilege                    community of            interest        privilege               common
            interest     privilege                    settlement         negotiations         privilege andlor                  any       other privilege




            Plaintiff objects              that      the    requested        documents         are readily         available         to   Defendant           and      are

            already      in the constructive                   possession           of Defendant             and would        be equally         obtainable            and

            accessible         to    Defendant




            Subject      to    arid   without          waiver of the foregoing objections sec the documents                                        produced             by
          Defendant            andlor are in Defendants                           possession            Please   also    see    documents             produced          in


            the   Fernandez and                 Scuils        cases      to the extent        responsive and the job descriptions                                posted

          by Defendant                on the internet


          Please         also       see    documents               filed    in    support      of Plaintiffs            Motions           for   Rule        23    Class

          Certification              and Motion              for   FIASA Conditional Certification                       in   the Sculls        and    Fernandez

          cases




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REQUEST FOR PRODUCTION                                          NO 42

                          Records       and         receipts        for    all   costs    you   havc         paid to bring and             maintain       this   legal

action



RESPONSE

             Plaintiff                                                      the    extent    that          calls   for    disclosure       of any information
                           objects       to       this    rcqucst     to                              it



             that constitutes           or         protected                                                        and exemptions            from discovery
                                              is
                                                                     by the following           privileges

                    the    attorney-client                privilege                 the     work-product             doctrine                the    investigative

             privilege            the joint              defense privilege                   community of                interest    privilege              common
             interest     privilege                  settlement           negotiations       privilege and/or                       any other privilege



             Subject      to    and without              waiving      the        foregoing objections               at   the    appropriate        time     Plaintiff

             will    produce      redacted fee              bills    and redacted expense and cost                         infonnation




REQUEST FOR PRODUCTION                                         NO 43

                          Your    fee   agreement             with your lawyers in this case and                            all   other    documents relating

     your claim for attorneys
to                                                 fees in this       case



RESPONSE

             Plaintiff     objects      to this          request      to    the extent      that     it    calls   for disclosure          of any information

             that constitutes         or     is    protected        by the following            privileges          and exemptions            from discovery

                    the    attorney-client                privilege                 the   work-product               doctrine                the   investigative

            privilege             the joint              defense privilege                  community of                 interest    privilege            common
             interest     privilege                 settlement            negotiations       privilege and/or                     any other privilege



             Subject      to    and     without           waiving          the    foregoing objection                Plaintiff       has    agreed     to   pay his

             attorneys          40%     attorneys           fee




REQUEST FOR PRODUCTION                                         NO 44

                                documents                                                                any communications
                          All                            concerning         or constituting                                 you received                         from

Wills       Law     Firm Padilla Rodriguez                                 Dc     La iarza L.L.P               and/or Krakower DiChiara                          LLC
and/or      any other partner employee                         agent        or rcpresentative              of Wills      Law Firm          Padilla Rodriguez

     Dc La Jarza L.L.P and/or                             Krakower DiChiara LLC                          prior to   your signing or           filing        consent

to   join   this    lawsuit      including           but not limited to solicitations to join                            this   lawsuit



RESPONSEI

            Plaintiff      objects      to    this request           to    the extent       that    it     calls   for disclosure          of any information

            that constitutes          or     is    protected        by the following            privileges          and exemptions            from discovery




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             the    attorneyclient                   privilege                 the    work-product                 doctrine                 the   investigative

       privilege               the joint defense privilege                             community of interest privilege                                    common
        interest    privilege                   settlement        negotiations          privilege and/or                  Ii    any other privilege




REQUEST FOR PRODUCTION                                      NO 45

                   All    documents               that              relied                                                     Delbndants          First    Set   of
                                                            you                 upon     in      responding              to


Interrogatories     or        which           support       or     relate      to     your         answers          to    Defend ants             First    Set    of


Jnterrogatories



RESPONSE

       Plaintiff    objects          to this request to the extent                     that      it    calls     for disclosure         of any information

                                                                                                           egcs and exemptions
       that constitutes             or   is   protected      by the following                         vi                                      from discovery
                                                                                            pu

             the    attorney-client               privilege                   the     work-product                 doctrine               the     investigative

       privilege         ci    the joint         defense privilege                     community of interest privilege                                 common
       interest    privilege                   settlement         negotiations          privilege and/or                        any     other privilege




       Plaintiff    objects          that      the   requested         documents            arc readily            available       to   Defendant          and are

       already     in the      constructive              possession of Defendant                           and   would be         equally      obtainable        and

       accessible        to   Defendant


       Subject     to    and without             waiver of the foregoing objections                                see    thc   documents         produced by
       Defendant          and/or         are in      Defendants             possession                Please      also see      documents          produced       in


       the   Fernandez          and Sculls cases to the extent                          responsive and                    the   job descriptions           posted

       by Defendant            on the internet



       Please      also       sec    documents              filed      in    support     of Plaintiffs                Motions           for    Rule   23    Class

       Certification          and    Motion           for   FLSA         Conditional          Certification              in the    Sent/s      and Fernandez

       eases




REQUEST FOR PRODUCTION                                      NO 46

                   All    documents             identified        in   your Rule        26al                 disclosures



RESPONSE

       Plaintiff    objects         to    this request        to the        extent    that    it      calls      lbr disclosure         of any information

       that constitutes         or       is   protected      by    the      following    privileges and exemptions                            from discovery

             the   attorney-client                privilege                   the    work-product                  doctrine              the      investigative

       privilege        ci    the joint         defense privilege                     community of                  interest      privilege           common
       interest    privilege                   settlement         negotiations         privilege and/or ii                      any   other     privilege




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     Plaintiff     objects         that the         requested          documents        are      readily    available      to    Defendant         and    arc

     already      in the constructive                 possession             of Defendant          and would be equally                 obtainable       and

     accessible         to   DefendanL


     Subject to and without waiver of the foregoing objections see the documents                                                            produced      by

     Defendant          and/or         are    in   Defendants possession                         Please also see documents                  produced       in


    the   Fernandez              and       Scusis    eases to the extent               responsive and           the    job descriptions            posted

     by Defendant             on    the internet




    Please       also        see    documents             filed       in    support    of Plaintiffs           Motions          for    Rule   23     Class

     Certification           and      Motion        for   FLSA          Conditional Certification              in   the Scults         and Fernandez

     cases




REQUEST FOR PRODUCTJON                                    NO 47

                 Any       other      documents           that    support or relate to the allegations                     in   the    Complaints



RESPONSE


    Plaintiff objects              to this request to the extent                     that   it   calls   for disclosure         of any      infonnation

    that constitutes             or   is   protected       by     the      following    privileges         and exemptions             from discovery

          the     attorney-client                  privilege                 the   work-product            doctrine               the    investigative

    privilege                the joint        defense privilege                      community of           interest      privilege            common
    interest     privilege                   settlement       negotiations            privilege and/or                any      other    privilege



    Plaintiff     objects          that     the     requested          documents       are       readily    available     to    Defendant       and are

    already      in the       constructive            possession            of DeFendant           and would be equally obtainable                       and

    accessible        to     Defendant


    P1 aintiff    further          objects        that this   request constitutes                 an impermissible fishing                  expedition
    and requires Plaintiff                   to    marshal      all    evidence



    Subject      to   and without             waiver of the foregoing objections                           see the    documents          produced         by

    Defendant           and/or        are in       Defendants              possession            Please also see documents                  produced      in


    the   Fernandez and Sculls                      cases       to the extent          responsive and           the    job descriptions            posted

    by Defendant             on    the internet



    Please       also      see     documents              filed       in   support     of Plaintiffs          Motions           for   Rule    23    Class

    Certification            and    Motion          for   PLSA         Conditional Certification               in   the   Scults      and    Fernandez

    cases




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REQUEST FOR PRODUCTION                                             NO 48

                     Any         and              other            documents             that    contain             notations      information            evidcnee       or


                                  any manner
references     relating     in                                                                                   Defendants           that   is   not    covered by the
                                                              to    your allegations             against

foregoing requests



RESPONSE

                                                                                                                                                  of any infbrmation
                                                        request to the extent that
        Plaintiff      objects         to       this                                                     it    calls    for disclosure

       that constitutes               or         protected                  the       following                  and exemptions                        from discovery
                                            is
                                                                     by                               privileges

               the    attorney-client                   privilege                       the     work-product              doctrine                 the     investigative

        privilege                the    joint          defense privilege                         community of              interest        privilege           common
        interest     privilege                    settlement               negotiations          privilege and/or                Ii    any other privilege


       Plaintiff       objects         that       the    requested               documents            are      readily    available         to    Defendant        and   are

       already        in   the    constructive                 possession of Defendant                           and would be equally                    obtainable      and

       accessible          to    Defendant



       Plaintiff      further objects                   that this request                constitutes           an impermissible fishing                     expedition

       and requires             Plaintiff         to    marshal            all    evidence



       Subject        to   and without                 waiver of the foregoing                        objections          see the      documents produced                by
       Defendant           and/or          are     in    Defendants possession                                Please also see documents                    produced       in


       the     Fernandez           and          Sculls    cases            to    the    extent    responsive and the job descriptions                               posted

       by Defendant              on     the      internet




       Please        also       see     documents                   filed        in
                                                                                      support         of Plaintiffs            Motions           for    Rule   23    Class

       Certification            and Motion                for       FLSA          Conditional Certification                    in   the    Scutls       and Fernandez

       cases




REOUEST FOR PRODUCTION NO 49

                           documents                                                                   your contention
                     All                               that    support            or relate      to                                   in   Paragraph        4.15    of the

Complaint that Defendants                        implemented                      policy or practice                 with respect to Plaintiffs as follows

  Plaintiffs    generally         were only paid for their scheduled                                         shift    time


RESPONSE

       Plaintiff      objects         to    this       request        to    the extent          that    it    calls    for disclosure            of any information

       that constitutes            or      is    protected          by the flowing privileges nod exemptions                                           from discovery
               the   attorney-client                    privilege                      the    work-product               doctrine                  the    investigative

       privilege                 the joint         defense privilege                            community of              interest         privilege           cummon
       interest                                   settlement negotiations                                             and/or
                     privilege                                                                   privilege                             any other privilege




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          PlaintilT      objects          that      the    requested       documents            are     readily available         to    Defendant          and are

                        in the       constructive            possession          of Defendant            and would        be equally obtainable                and
          already
          accessible          to    Defendant


          Subject       to    and without             waiver of the foregoing objections see the documents produced by

          Defendant           and/or          are    in   Defendants            possession             Please    also see     documents          produced       in


          the Fernandez and Sculls cases to the extent responsive and the job descriptions                                                                  posted

          by Defendant               on the internet



          Please       also        see    documents              filed    in    support        of Plaintiffs         Motions           for     Rule   23     Class

          Certification             and Motion             for   FLSA      Conditional Certification                 in   the Sculls           and Fernandez

          cases




REQUEST FOR PRODUCTiON                                           NO 50

                       All    documents               that   support       or relate       to    your contention            in   Paragraph          415 of     the


Complaint that Defendants                           implemented            policy or practice              with respect to Plaintiffs as follows

   ii    Plaintiffs      were not paid for work they performed before their scheduled                                                  shift    began during
their   unpaid    meal breaks and after the end of their scheduled shifts



RESPONSE

          Plaintiff objects               to this request to the               extent     that    it   calls    for disclosure         of any infonnation

          that constitutes               or   is   protected      by the following              privileges       and exemptions              from discovery

                 the    attorney-client                   privilege              the    work-product             doctrine                the    investigative

          privilege                 the joint        defense privilege                    community of             interest      privilege            common
          interest     privilege                    settlement       negotiations         privilege and/or                   any other privilege


          Plaintiff objects               that      the    requested documents                 are readily available             to    Defendant           and are

         already       in    the     constructive            possession         of Defendant             and would he equally obtainabic                      and

          accessible         to    Defendant


         Subject       to    and without waiver of the foregoing                               objections         see the   documents           produced       by
          Defendant           and/or          are   in    Defendants           possession              Please   also see     documents           produced       in


         the   Fernandez and Sculls cases                            to   the    extent    responsive and             the    job descriptions              posted

         by Defendant               on    the internet



         Please        also        see    documents              filed    in   support      of Plaintiffs           Motions            for   Rule     23    Class

         Certification             and Motion              for   FLSA      Conditional Certification                 in the      Scwts and          Fernandez

         cases




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REQUEST FOR PRODUCTION                                            NO 51

                       All    documents                that                    or relate    to                                                                         of the
                                                              support                             your contention                          Paragraph
                                                                                                                                iii




Complaint that Defendants                           implemented                policy     or practice        with    respect          to        Plaintiffs      as   follows

   iii     Plaintiffs        were required to open the branch                              and close          the   branch and                   they     were not paid

for this    time when         it   was        not   included        in    their   schedule         which         was most 01 the                  time


RESPONSE

           Plaintiff objects              to this      request      to    the    extent     that    it    calls   for disclosure                 of any information

           that constitutes              or   is   protected       by the following              privileges         and exemptions                     from discovery

                 the    attorney-client                   privilege                the     work-product             doctrine                       the        investigative

           privilege                the joint         defense privilege                     community of             interest          privilege                    common
           interest    privilege                    settlement         negotiations         privilege            and/or               any other privilege


           Plaintiff objects              that      the   requested            documents         are readily        available              to    Defendant           and    are

           already     in    the constructive                 possession of Defendant                      and would           be equally obtainable                       and

           accessible        to    Defendant


           Subject to and without waiver of the foregoing objections                                                see   the       documents                 produced by
           Defendant          artdlor are in              Defendants possession                          Please also see documents                            produced       in


           the   Fernandez           and Sculls             eases to the extent              responsive and the job descriptions                                      posted

           by Defendant             on    the internet




           Please      also        see    documents               filed    in    support      of Plaintiffs            Motions                   for    Rule     23    Class

           Certification           and Motion               for   PLSA         Conditional         Certification          in   the         Sculls       and Fernandez

           cases




REQUEST           FOR PRODUCTiON                                  NO 52

                       All    documents               that    support          or rclnte    to   your contention                in     Paragraph 4.15                 of the

Complaint that Defendants                          implemented                 policy    or practice        with respect              to    Plaintiffs         as    follows

   iv    Plaintiffs         were required              to   work       through      lunch and they were not paid for                                   this    time


RESPONSE

           Plaintiff    objects          to    this
                                                      request       to the       extent    that    it    calls    for disclosure                 of any information

         that    constitutes         or       is   protected      by     the    following        privileges and exemptions                             from     discovery
                 the   attorney-client                 privilege                  the     work-product              doctrine                       the    investigative

         privilege                 the joint          defense privilege                    community of              interest          privilege                 common
           interest    privilege                    settlement         negotiations        privilege and/or                         any other privilege


         Plaintiff objects               that the         requested documents                are         readily    available              to    DeFendant           and   are

         already       in    the    constructive             possession           of Defendant            and would            he     equally obtainable                   and

         accessible          to    Defendant




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          Subject     to   and without             waiver of the foregoing                        objections       see the     documents produced                    by

         Defendant          and/or          are   in    Defendants                possession             Please also see documents                    produced        in


         the   Fernandez              and       Sculls    cases        to    the extent         responsive and the job descriptions                              posted

         by Defendant             on the internet



         Please      also       see    documents               filed        in    support         of Plaintiffs       Motions           for     Rule        23    Class

         Certification           and Motion              for   lISA          Conditional Certification                 in the Scutis            and    Fernandez

         cases




REQUEST FOR PRODUCTION                                         NO 53

                            documents                                                              your contention
                     All                           that    support           or relate       to                              in    Paragraph          4.15       of thc

Complaint that Defendants                        implemented                 policy       or practice       with respect          to   Plaintiffs      as    follows

        Plaintiffs        were required to spend                       line outside          the       branch and beyond               their   scheduled           shift


to   market    Defendants             financial          products           and    develop        business and         they were          not paid for time

spent performing           these      duties


RESPONSE

         Plaintiff     objects         to this request to the                     extent    that    it   calls   for disclosure         of any information

         that constitutes             or   is   protected       by     the       following        privileges      and exemptions               from discovery

               the    attorney-client                  privilege                   the     work-product            doctrine               the     investigative

         privilege               the joint         defense privilege                        community of            interest      privilege                 common
         interest    privilege                   settemcnt         negotiations             privilege and/or                  any other privilege


         Plaintiff     objects         that      the    requested           documents            are     readily available         to    Defendant           and    are

         already      in   the constructive                possession of Defendant                         and   would   be equally obtainable                     and

         accessible        to   Defendant


         Subject     to    and without waiver of the foregoing objections                                          see the   documents            produced by
         Defendant         and/or          are    in    Defendants               possession              Please also see documents                produced           in


         the   Fernandez           and Scans cases                   to the extent           responsive and the job descriptions                             posted
         by Defendant            on    the internet




         Please      also       see    documents               filed    in        suppoil     of Plaintiffs          Motions            for    Rule     23       Class

         Certification          and    Motion            for   FLSA          Conditional Certification                in the       Scat/s      and Fernandez

         cases




QUEST           FOR PRODUCTION NQ 54

                     All    documents              that    support           or    rclaie   to     your contention           in    Paragraph           8.9       of the

Complaint that Defendants                        have    failed to          maintain accurate              employee      records




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RESPONSE

       Plaintiff     objects           to       this    request    to    the extent          that     it    calls   tbr disclosure             of any infonnation

      that constitutes                or    is   protected       by     the       following        privileges         and exemptions                 from discovery

             the     attorney-client                    privilege                   the     work-product               doctrine                  the     investigative

      privilege                  the joint             defense privilege                     community of               interest         privilege           common
       interest     privilege                      settlement       negotiations              privilege             and/or                     other
                                                                                                                                    any                 privilege



      Plaintiff      objects           that       the    requested           documents             are     readily     available          to   Defendant         and are

      already       in the       constructive                 possession            of Defendant             and would            be equally           obtainable    and

      accessible           to   Defendant


      Subject       to     and without                 waiver of the foregoing objections see the documents                                              produced by
      Defendant            and/or          are     in   Defendants                 possession              Please    also see       documents            produced      in


      the   Fernandez and                       Seults    cases         to   the    extent     responsive and                 the       job    descriptions       posted

      by Defendant               on      the internet




      Please        also        see      documents              flied        in    support         of Plaintiffs         Motions               for    Rule   23    Class

      Certification             and Motion                for   FLSA          Conditional Certification                      in   the Sculls          and Fernandez

      eases




REQUEST FOR PRODUCTION                                          NO 55

                   All     documents                   that   support         or relate       to    your contention                in    Paragraph        8.10    of the

Complaint   that    No          exemption excused Defendants                                  from paying Plaintiffs                      overtime        pay and     all


wages owed    ibr    all      the    hours        worked        over forty per work                       week

RESPONSE

      Plaintiff      objects          to     this request         to the           extent    that    it    calls    for disclosure             of any infonnation

      that constitutes              or     is    protected      by the following                   privileges        and exemptions                  from discovery

            the     attorney-client                     privilege                   the     work-product              doctrine                  the     investigative

      privilege                 the joint          defense privilege                         community of              interest         privilege            common
      interest      privilege                     settlement       negotiations              privilege             and/or Ii        any other privilege


      Plaintiff      objects          that       the     requested           documents         are         readily    available          to    Defendant      and are

      already       in   the constructive                     possession ot Defendant                       and would             be equally obtainable              and
      accessible         to     Defendant


      Subject to and without                       waiver ollhe foregoing                      objections see the documents produced                                 by
      Defendant            and/or        are      in    Defendants possession                             Please     also see       documents            produced     in

      the   Fenandaz             and        Sent/s        cases     to       the    extent    responsive and                 the    job       descriptions        posted
      by Defendant              on    the        internet




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       Please       also       see    documents                filed                            of Plaintiffs           Motions          for     Rule     23    Class
                                                                          in     support
       Certification            and Motion               for   FLSA         Conditional          Certification          in the      Scuzis       and Fernandez

       eases




REQUEST FOR PROJUCTION                                         NO.     56

                    All    documents                  that   support        or relate      to    your contention              in   Paragraph         8.11      of the

Complaint    that   Defendants                    violations         as   described herein constitute                    willful     violations



RESPONSE

       Plaintiff     objects          to       this   request    to    the extent         that    it   calls    for disclosure           of any information

       that constitutes              or                         by the following                                 and exemptions                 from discovery
                                          is    protected                                       privileges

             the     attorney-client                   privilege                  the    work-product             doctrine                 the     investigative

       privilege                the joint             defense privilege                   community of              interest       privilege              common
       interest     privilege                    settlement negotiations                   privilege and/or                    any other privilege


       Plaintiff     objects          that       the    requested          documents            are    readily available            to   Defendant           and are

       already      in    the    constructive                possession of Defendant                     and    would be equally                 obtainable      and

       accessible         to   Defendant



       Subject      to    and without waiver of the foregoing objections                                          see the     documents            produced       by
       Defendant          and/or          are     in    Defendants possession                          Please    also   see    documents           produced        in


       the   Fernandez           and Scans cases                     to    the    extent    responsive            and the job descriptions                     posted

       by Defendant             on    the internet




       Please       also       see    documents                filed      in    support     of Plaintiffs               Motions          for    Rule    23      Class

       Certification           and Motion                for   FLSA         Conditional          Certification          in   the Scuf      is   and Fernandez

       cases




REQUEST FOR PRODUCTION                                         NO 57

                    All    documents                  that   support        or relate      to    yow      contention         in    Paragraph        8.1        of the

Complaint that                       conduct           constitutes             willful    violation        of the    FLSA

RESPONSE

      Plaintiff      objects         to    this request          to the extent           that    it    calls    for disclosure           of any information

       that constitutes          or       is   protected        by    the      following        privileges and exemptions                       from discovery

             the    attorney-client                    privilege                 the     work-product             doctrine                 the    investigative

       privilege               the joint          defense privilege                      community of              interest        privilege            common
       interest     privilege                    settlement       negotiations             privilege and/or Ii                any    other privilege




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       Plaintiff     objects         that the         requested           documents            are     readily   available         to    Defendant         and are

       already      in the      constructive            possession of Defendant                          and would be equally obtainable                       and

       accessible        to    Defendant


       Subject      to   and without             waiver of the foregoing objections                              see    the      documents produced             by
       Defendant          and/or         are in      Defendants possession                            Please    also    see      documents          produced     in

       the   Fernandez              and Sculls cases                to    the    extent       responsive and            the      job descriptions           posted

       by Defendant             on the internet



       Please      also       see        documents          flied        in    support         of PlaintilL         Motions             for   Rule    23     Class

       Certification           and Motion             for   FLSA          Conditional Certification                    in   the Scuffs        and    Fernandez

       cases




REQUEST FOR PRODUCTION                                      NO 58

                   All    documents              that   support           or relate       to    your contention              in   Paragraph         8.31    of the

Complaint that Wells Fargos violations                               as       described herein            constitute        willful      violations



RESPONSE

       Plaintiff     objects         to this request to              the extent          that    it    calls   for disclosure           of any information

       that constitutes             or   is   protected      by     the       following        privileges and exemptions                      from discovery

             the    attorney-client                  privilege                  the   work-product               doctrine                 the   investigative

       privilege               the joint        defense privilege                       community of              interest        privilege           common
       interest    privilege                   settlement negotiations                    privilege and/or                    any other privilege


       Plaintiff     objects         that      the   requested           documents             are    readily    available         to   Defendant          and are

       already     in the       constructive            possession              of Defendant            and would be equally obtainable                       and

       accessible        to   Defendant


       Subject to and without waiver of the foregoing objections                                                 see the      documents          produced by
       Defendant         and/or          are   in    Defendants possession                            Please also see documents                  produced       in


       the   Fernandez and Scuits                     cases       to the        extent    responsive             and the job descriptions                  posted

       by Defendant            on    the internet



       Please      also       see    documents              filed        in   support         ol Pluintiff         Motions              for   Rule    23    Class

       Certification          and Motion              for   FLSA          Conditional Certification                    in   the   Scuils      and Fernandez

       eases




REQUEST FOR PRODUCTION                                      NO 59

                   All    documents             that    support          or relate       Lu    your contention              in    Paragraph         842 of     the

Complaint that Wells Fargos violations                              as    described           herein     constitute         willful     violations




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RESPONSE

       Plaintiff                              this                                                           for disclosure         of any information
                    objects          to              request to the extent             thai     it   calls

      that constitutes              or    is   protected       by the following              privileges        and exempt ions from discovery

            the     attorney-client                   privilege               the     worlc-product             doctrine              the    investigative

      privilege                the joint             defense privilege                 community of              interest     privilege           common
      interest     privilege                    settlement negotiations                 privilege and/or                     any other privilege



      Plaintiff     objects          that       the    requested        documents            are readily        available      to   Defendant         and are

      already      in the      constructive                 possession of Defendant                    and   would      be    equally      obtainable     and

      accessible         to   Defendant


      Subject to and without                         waiver of the foregoing                 objections         see the      documents       produced by

      Defendant           and/or          are in       Defendants            possession              Please also see documents                produced      in


      the   Fernandez and Sent/s cases                            to the      extent     responsive            and the job descriptions                posted

      by Defendant             on the internet



      Please       also       see    documents                filed    in
                                                                             support     of Plaintiffs            Motions           for    Rule   23    Class

      Certification           and Motion                for   PLSA      Conditional Certification                  in   the Sent/s         and Fernandez

      eases




REQUEST FOR PRODUCTION                                        NO 60

                   All    documents                  that   support     or relate       to    your contention            in   Paragraph        8.49     of the

Complaint   that   such             conduct           constitutes           willful    violation        of the    FLSA

RESPONSE

      Plaintiff     objects         to this          request to the          extent    that    it    calls   for disclosure         of any    information

      that constitutes          or       is    protecled       by the following              privileges        and exemptions             from discovery

            the    attorney-client                    privilege               the     work-product             doctrine              the     investigative

      privilege               the joint          defense privilege                     community of             interest      privilege      fl   common
      interest     privilege                    settlement negotiations                privilege and/or                      any other privilege


      Plaintiff     objects         that        the    requested       documents             are     readily   available       to   Defendant      and    are

      already      in the      constructive                 possession of Defendant                   and would be equally obtainable                     and

      accessible         to   Defendant


      Subject      to    and without             waiver of the foregoing objections                            see the    documents          produced      by
      Defendant          and/or          are    in    Defendants            possession              Please also see documents                produced      in


      the   Fernant/e           and Sculls eases                  to   the    extent    responsive             and the job descriptions                posted

      by Delbndant            on     the internet




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             Please   also    see    documents               filed    in   support       of Plaintiffs               Motions        for    Rule    23     Class

             Certification    and Motion            for    FLSA        Conditional Certification                      in   the Scutes and         Fernandez

             cases




 REQUEST FOR PRoDucTIoN                                    NQ        61


                           copy     of your         Facebook           profile    using         Facebooks              Downloading              Your Info

 feature including but not limited to                  all     updates       changes           or   modifications           to   your profile      all   status

updates        tinieline    profile    or wail       comments              all   mailbox messages                          all   photo    albums         causes

joined                joined notes                            streams blog          entries          and applications             from September            17
          groups                          activity

2007


RESPQ
          Plaintiff    objects      that the    request seeks information                           that   is   inelevant        and that the request        is


          harassing and not reasonably                     calculated        to lead to the            discovery           of admissible evidence



          Plaintiff    further      objects    to this request             because       it    violates         Plaintiffs       privacy




REQUEST FOR PRODUCTION                                    NO 62

                           copy   of your Twitter   profile   using                            Twitters           Downloading              Your     Twitter

Archive        feature     including but not limited to all updates                            changes          or   modifications        to   your profile
all   status   updates      tweets     posts        retweets          connections              messages           photos         causes joined          groups

joined notes activity           streams and           list    of your following                and followers            from September            17 2007
2005


RESPONSEi

          Plaintiff    objects      that the   request seeks infonnation                        that       is   irrelevant       and that the request        is


          harassing      and not reasonably                calculated       to lead       to    the    discovery           of admissible evidence



          Plaintiff    further objects         to   this     request       because       it    violates         Plaintifrs       privacy


          Plaintiff    further                                             because
                                    objects    to this request                            it   is    overly broad and unlimited as
          to subject     matter and      is    therefore         beyond the proper form and scope                                of discovery




REQUEST FOR PRODUCTiON                                 NO 63

                                  of any and                                     medial website
                         copy                        all     other     social                                    profiles        including     any and      all


electronic     messages       text   messages          internet        posts




                                                                     Page 38     of 42
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RESPONSE

           Plaintiff objects          that the request               seeks      information that                    is    irrelevant       and that the request                   is


           harassing          and not reasonably                calculated         to lead       to the           discovery         of admissible evidence



           Plaintiff further          objects          to   this request        because         it    violates            Plaintiffs
                                                                                                                                           privacy


           Plaintiff     further      objects          to   this    request      because         it        is   overly      broad and           unlimited           as

           to subject         matter and         is    therefore         beyond     the
                                                                                          proper form and scope                            of discovery




REQUEST            FOR PRODUCTION NO 64

                        All   correspondence                  including c-mails sent by you or to you under your legal                                                    name
anonymously             or   under an assumed                 name         concerning        your allegations                      in the    Complaints



RESPONSE

           Plaintiff objects          to    this request to               the extent      that        it    calls        for disclosure         of any information

           that   constitutes        or    is   protected           by   the   following        privileges and exemptions                           ft   cm    discovery
                  the    attorney-client               privilege                 the    work-product                       doctrine               the     investigative

           privilege               the joint          defense privilege                   community of                      interest privilege                      common
           interest     privilege                settlement          negotiations          privilege and/or                              any other privilege


           Plaintiff     objects      that       the    requested           documents           are         readily available              to   Defendant                aud are

           already in the constructive                      possession of Defendant                              and would be equally obtainable                               and

           accessible         to   Defendant


           Plaintiff     further      objects          that    the       request   seeks     information                    that    is    irrelevant      and that the

           request      is    harassing         and     not reasonably             calculated                   to lead to the           discovery       of admissible

           evidence          and invades Plaintiffs                  privacy particularly as                         it   relates    personal       c-mails              if   any


           Plaintiff further         objects           that    the request         is   vague ambiguous                        and overly broad                      Plaintiff

           further      objects      that       this    request           constitutes      an         imperrnissible                fishing        expedition and

           requires Plaintiff         to        marshal       all   evidence



           Plaintiff further         objects           to this request          because         it     is       overly     broad and unlimited as

       to subject            matter and          is   therefore          beyond    the    proper form and scope                            of discovery




REOUEST FOR PRODUCTION                                        NO         65j


                        Any and       all       phone       records        or copies       of phone                 records        from any and               all    of your

personal    phone numbers              including phone                     numbers        for        both land lines and                   mobile devices                     from

September               2007       through            the     termination          of your             employment with                      Wells        Fargo           and/or

Wachovia




                                                                          Page 39 of 42
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RESPONSEi

           Plaintiff         objects    to       this    request       to the      extent     dat     it   calls      for disclosure              of any information

          that    constitutes          or    is   protected           by    the   following         privileges              and exemptions              from discovery

                 the     attorney-client                 privilege                  the      work-product                   doctrine                  the    investigative

           privilege              the joint             defense privilege                     community of                    interest        privilege          common
           interest      privilege                  settlement             negotiations       privilege and/or                               any other privilege



          Plaintiff further             objects          that    the        request    seeks    information                   that      is   irrelevant      and that the

                         is    harassing          and     not reasonably               calculated           to    lead to the                discovery      of admissible
          request

          evidence            and invades Plaintiffs                       privacy         particularly          as    it   relates personal             phone records

          if   any


                                                         that                                                                     and                   broad    Plaintiff
          Plaintiff          further    objects                  the request           is   vague          ambiguous                         overly

          further       objects        that       this     request          constitutes        an    impennissible                      fishing       expedition       and

          requires Plaintiff                to    marshal        all   evidence




REOUEST FOR PRODUCTION                                           NO 66

                       Any       and    all       complete            billing     statements         or     copies           of complete           billing     statements

from any and           all    of your personal                  phone numbers including phone numbers                                             for    both land lines

and   mobile devices             from         September               17 2007 through               the     termination of your employment with

Wells     Fargo      and/or      Wachovia                 You         can    obtain    this    information                   if   necessary        from your        phone
service   provider



RESPONSE

          Plaintiff      objects        to    this request             to the     extent that        it    calls      for disclosure             of any infonnation

          that constitutes             or   is    protected           by    the   following     privileges and exemptions                               from discovery

                 the     attorney-client                 privilege                  the     work-product                    doctrine               the      investigative

          privilege               the joint         defense privilege                  ci community of                       interest         privilege          common
          interest      privilege                  settlement           negotiations          privilege and/or                               any other privilege


          Plaintiff          further    objects          that    the request          seeks     information                  that    is      irrelevant      and that the

          request       is    harassing           and     not    reasonably           calculated           to    lead to          the     discovery         of admissible

          evidence           and invades            Plaintiffs             privacy     particularly              as   it    relates       personal       phone   records
          if   any


          Plaintiff                                      that   the                                       ambiguous               and overly broad               Plaintiff
                         further       objects                          request
                                                                                      is
                                                                                            vague
          further       objects        that       this    request           constitutes              impennissible                   fishing          expedition      and

          requires       Plaintiff      to       marshal        all    evidence




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Dated January 22 2014

      Houston Texas


                              Respectfully      submitted




                              By/sl Rhonda           Wills

                                 Rh.ondaH        Wills

                                 ATTORNEY-IN-CHARGI
                                 State   Bar    No   00791943
                                 WILLS LAW FIRM
                                  1776 Yorktown        Suite   600

                                 Houston Texas          77056

                                 Telephone        713    528-4455

                                 Facsimile        713    528-2047



                                 John        Padilla

                                 State   Bar    No   00791395
                                 PADJLLA         RODRIGUEZ       L.L.P

                                 1776    Yorktown      Street   Suite   110

                                 Houston Texas 77056
                                 Telephone        713    574-4600

                                 Facsimile        713    574-4601



                                 Michael     DiChiara

                                 Krakower DiChiara LLC
                                 One Depot Square
                                 77 Market Sfreet Suite

                                 Park Ridge NJ 07656

                                 Telephone        201    746-0303

                                 Facsimile       866     417-2333



                              ATTORNEYS           FOR PLAINTIFFS




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                                       CERTIFICATE            OF SERVICE

                the    undersigned      counsel    hereby     certify   that   on   January   22 2014   served   the




foregoing document    on the following       counsel via certified mail return receipt          requested



              Timothy           Watson
              Esteban Shardonofsky

              Kendra         Paul

              Rachel         IToffer

              SEYFARTIL       Sr   JAW LLP
              700 Louisiana Street Suite 3700

              Houston Jexas 77002


              Robert         Whitman
              Adam     LI   Smiley
             Mark           Casciari

              SUYFAIUr       StrAW     LLP
              620 Eighth Avenue

             New York NY             100 18-1405




                                                    /s/John         Fad//la

                                                    John        Padilla




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                                   UNITED STATES          DISTRICT COURT
                                  SOUTHERN       DISTRICT OF        NEW YORK

 GEORGE VANGELAKOS IAN KING
 JOSEPH KORONAK1S AND BARRY
 WAYNE       Individually   and on Behalf of All

 Others Similarly Situated



          Plaintiffs                                                       Case   No   13   CV   6574


 vs


 WELLS FARGO BANK N.A WELLS
 FARGO   COMPANY \VFC HOLDINGS
 CORPORATION            WACHO VIA
 CORPORATION            AND WACHOVIA
 BANKN.A

          Defendants




        PLAINTIFFIAN KINGS RESPONSES AND OBJECTIONS TO DEFENDANT
         WELLS FARGO BANK N.A.S SECOND REQUEST FOR PRODUCTION


                Plaintiff   Ian   King   serves these objections    and responses to Defendant      Wells   Fargo



Banlc   NA.s   Second    Request for Production      as   follows




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                                                 OBJECTJONS TO INSTRUCTIONS

                        Plaintiff      objects        to   Instruction          Nos   1-1 1-4 I-lU and I-il               and       II   incorporated        by


reference         from Defendants                First     Request         for   Production             and    Instruction     II    from     Defendants



Second Request for Production to the extent they seek to impose requirements beyond the proper



form and scope of the Federal Rules of                         Civil       Procedure         governing         discovery Plaintiff           will    respond



to   said    discovery        pursuant          to   the   common          and acceptable               meanings      of any terms           used     therein




and/or      in   accordance         with the Federal Rules of Civil Procedure




       PLAINTIFF IAN  KINGS RESPONSES AND OBJECTIONS TO DEFENDANT
            WELLS FARGO BANK N.A.S SECOND REQUEST FOR PRODUCTION


REQUEST FOR PRODUCTION                                      NO      67


                        Copies       of   all    e-mails since September                         17 2006         Your response             to this   request

should      include     all   your email accounts including                         all    e-mail accounts identified in your answer                         to


Interrogatory       No 13            e-mails and attachments                     stored in       an inbox folder sent items folder deleted

items folder draft folder and any and                         all   subfolders            or other      folders including e-mail archives


RESPONSE

            Plaintiff    objects      to this request to the extent                       that   it   calls   for disclosure        of any information

            that constitutes         or   is   protected      by    the    following         privileges and exemptions                   from discovery

                  the   attorney-client              communication               privilege               the    work-product             doctrine           the


            investigative       privilege Cd the joint defense privilege                                       community of interest            privilege
                  common       interest        privilege      and/or              any other privilege


            Plaintiff    further objects             to the   foregoing request as follows


            The    request     is   overly broad unduly burdensome harassing and nothing                                        more than            fishing

            expedition


            The    request     seeks      information         that    is    neither relevant             nor reasonably        calculated       to   lead    to


            the   discovery         of admissible evidence



            The request seeks              information          that       is    confidential          and     violates   Plaintiffs         and/or    third

            parties     privacy interests


            The    request     seeks      irrelevant       information




                                                                     Page          of
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   The     burden of producing                  the requested       information              outweighs          the    benefit   and does not

   warrant       the    cost        and    burden      associated        with          producing         that     information          under     the

   circumstances



   The                      overly     broad and unlimited as               to    subject      matter     and     is   therefore       beyond    the
           request     is



   proper      form and scope of discovery



   Some of      the information requested                   may   be    out      of Plaintiffs          control



   To    the   extent        this    request     seeks     e-rnails     sent      or       received     on      e-mail    servers       or

                                                                                                                above
   systems of employers                   other than     Wells    Fargo          in   addition     to   the              objections

   Plaintiff    further objects            as   follows



               Information requested                 may   contain sensitive                or otherwise        confidential       data

               and information              including      but not limited            to   customer data and information



               Plaintiff      is   not authorized        or permitted       to    produce the requested                  documents



               The      requested           documents         may       contain             proprietary         or     trade     secret

               information



   Subject      to   and      without       waiver     of the foregoing                objections         Plaintiff      did     not    send    or

   receive     work         emails    while     at   Wells/Wachovia              using       his   e-mail       addresses      separate      and

   apart     from his Wells/Wachovia                     e-mail   addresses                for which         Defendants        are     the   sole

   custodians




                                                           Page        of
  Case 1:13-cv-06574-PKC Document 41-8 Filed 06/13/14 Page 68 of 69




Dated   March     2014

        Houston   Texas



                            Respeetfu   fly    submitted




                            ByIs/ Rhonda             Wills

                               Rhonda            Wills

                               ATTORNEY-IN-CHARGE
                               State    Bar    No    00791943

                               WILLS LAW FIRM
                                1776 Yorktown Suite 600

                               Houston         Texas     77056

                               Telephone          713      528-4455

                               Facsimile          713      528-2047



                               John           Pad lila

                               State    Bar    No   00791395

                               PADILLA           RODRIGUEZ         L.L.P

                               1776 Yorktown             Street   Suite   110

                               Houston        Texas      77056

                               Telephone          713      574-4600
                               Facsimile          713      574-4601



                               Michael        DiChiara
                               Krakower         DiChiara     LLC
                               One Depot         Square
                               77 Market Street Suite
                               Park Ridge         NJ 07656
                              Telephone          201      746-0303

                               Facsimile         866      417-2333



                            ATTORNEYS FOR PLAINTIFFS




                             Page4ofs
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                                      CERTIFICATE OF SERVICE


                  the    undersigned     counsel      hereby         certify   that   on   March     2014    served   the




foregoing   document on the following         counsel     via   certified      mail return receipt   requested



                Timothy        Watson

                Esteban   Shardonofsky
                Kendra       Paul

                Rachel       Hoffer

                SEYFAWFH     SI-lAw   LU
                700 Louisiana       Street   Suite   3700

                Houston     Texas 77002



                Robert      Whitman
                Adam       Smiley
                Mark       Casciari

                SIYvART1i    SHAW     LLP
                620 Eighth Avenue

                New York NY          10018-1405




                                                        /s/John      At Iadilla

                                                        John          Padilla




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